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 14
                    UNITED STATES DISTRICT COURT
 15        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 16   MACOM TECHNOLOGY                            Case No. CV 16-02859 CAS (PLAx)
 17   SOLUTIONS HOLDINGS INC. and                 JOINT STIPULATION
      NITRONEX, LLC,                              REGARDING INFINEON’S
 18                                               DISCOVERY RESPONSES
 19                                               REDACTED VERSION OF
                        Plaintiffs,               DOCUMENT PROPOSED TO BE
 20                                               FILED UNDER SEAL
            v.
 21                                               Mag. Judge: Hon. Paul L. Abrams
 22   INFINEON TECHNOLOGIES AG, et                Hearing Date: June 27, 2018
      al.,                                        Hearing Time: 10:00 a.m.
 23                                               Courtroom: C, 8th Floor
                        Defendants.
 24
                                                  Discovery Cutoff: June 29, 2018
 25                                               Pretrial Conference: March 4, 2019
 26                                               Trial Date: March 26, 2019
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 28


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  1 I.       INTRODUCTIONS
  2          Pursuant to Civil Local Rule 37-2, Plaintiffs MACOM Technology Solutions
  3 Holdings, Inc. and Nitronex, LLC (“MACOM” or “Plaintiffs”) and Defendants
  4 Infineon Technologies AG (“Infineon AG”) and Infineon Technologies Americas
  5 Corporation (“Infineon Americas”) (collectively, “Infineon” or “Defendants”) file
  6 this Joint Stipulation regarding Infineon’s discovery responses. This joint
  7 stipulation is brought after conferences of counsel on January 25, March 5, March
  8 26, April 5, April 11, and May 18,2018.
  9          A.     MACOM’s Introduction 1
 10 1.       MACOM’s Claims
 11          This case involves Infineon AG’s acquisition of International Rectifier (“IR”)
 12 (now Infineon Americas), followed by Infineon’s attempts to avoid, terminate,
 13 misconstrue, and ignore its obligations under a series of 2010 agreements between
 14 IR and Nitronex (now MACOM). See generally Dkt. 445 (Third Amended
 15 Complaint). MACOM alleges that Infineon Americas has breached (and is
 16 continuing to breach) promises that Infineon Americas made to MACOM in an
 17 exclusive license to the foundational “Nitronex Patents.” Among other breaches,
 18 MACOM claims that Infineon Americas is in breach of its promise that Infineon
 19 will not market or sell GaN-on-Si products in MACOM’s exclusive field, which
 20 includes the right to develop, manufacture, and sell GaN-on-Si RF products for
 21 certain applications, such as cellular basestations. Dkt. 445 at ¶¶88, 190-201.
 22          Infineon Americas is the wholly-owned subsidiary of its co-defendant,
 23 Infineon AG. Id. at ¶¶158-68. Infineon AG made the decision to purchase
 24
 25
      1
          MACOM proposed to Infineon that the parties combine all ongoing discovery
 26       disputes into a single, omnibus joint stipulation before submitting it to the Court.
 27       Infineon refused. Ex. 1. MACOM therefore was forced to submit this separate
          joint stipulation (and will likely have one additional joint stipulation to submit
 28       about other brewing disputes in the coming weeks).

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  1 International Rectifier to get access to its GaN-on-Si products and intellectual
  2 property (including the intellectual property in dispute in this case), re-name it
  3 Infineon Americas and merge it into Infineon’s existing U.S. subsidiary, induce
  4 Infineon Americas to breach its agreements with MACOM, and then to shift
  5 activities that Infineon Americas is not permitted to do under its contracts with
  6 MACOM to Infineon AG and other Infineon affiliates. Dkt. 445 at ¶¶2-10; Dkt.
  7 500-1 at ¶281. Based on these actions and others, MACOM asserts a claim for
  8 intentional interference with contractual relations against Infineon AG. Dkt. 445 at
  9 ¶¶248-60.
 10 2.     Products And Customers At Issue
 11        Cellular basestations are a critical part of what is commonly called a “cell
 12 phone tower.” See Dkt. 81-4 at ¶6 (attached hereto as Ex. 18). Basestations are
 13 owned and operated by mobile phone service providers such as AT&T, Verizon, T-
 14 Mobile, and Sprint. Id. at ¶8. These mobile phone service providers typically do
 15 not design or manufacture the equipment they use in their basestations. Id. Instead,
 16 they purchase the equipment from suppliers of basestation equipment, such as
 17 Ericsson, ZTE, Nokia, and Huawei (so-called “Tier 1” customers). Id. In fact, the
 18 basestation equipment market is one of the most concentrated markets in the world,
 19 with just the four Tier 1 suppliers—Ericsson, ZTE, Huawei, and Nokia—controlling
 20 approximately 90% of the market. Id. at ¶26.
 21        As a result of these unique market conditions, much of this case centers
 22 around Infineon’s activities marketing within MACOM’s exclusive field to these
 23 basestation equipment companies. Dkt. 445 at ¶¶190-201.
 24 3.     Infineon’s Refusal To Provide Discovery
 25        Infineon is bent on preventing MACOM from obtaining complete discovery
 26 on relevant issues in this case.
 27        First, Infineon has refused to produce documents about its acquisition of IR
 28 (the original party to the contract with MACOM that was acquired by Infineon AG),

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  1 which is central to MACOM’s intentional interference claim.
  2         Second, Infineon has defended against MACOM’s claim of breach by
  3 claiming that its GaN-on-Si product designs do not practice the Nitronex Patents,
  4 and therefore it does not act in breach of the contract by marketing them in
  5 MACOM’s exclusive field. MACOM has provided thousands of pages of detailed
  6 charts explaining its contentions as to how Infineon is practicing the Nitronex
  7 Patents. Infineon, by contrast, refuses to provide any meaningful disclosure of its
  8 “noninfringement” arguments. MACOM has attempted to get this information
  9 through various methods: an interrogatory seeking noninfringement charts (which
 10 Infineon responded only to state that MACOM had not proved infringement),
 11 requests for admission (which Infineon denied in a blanket fashion), and an
 12 interrogatory seeking an explanation of any denials of requests for admission (which
 13 Infineon refused to respond to).
 14         Third, despite the centrality of Infineon’s marketing to basestation customers
 15 and Infineon’s agreement to produce communications with customers (including the
 16 four above—Ericsson, ZTE, Huawei, and Nokia—and a fifth, Samsung), Infineon
 17 has failed to conduct a reasonable search for its communications with these
 18 customers, as demonstrated by both the identity of the custodians that it has chosen
 19 to search (or, more to the point, the identity of the custodians that it has not
 20 searched) and the unexpectedly low numbers of communications with these
 21 customers that Infineon has actually produced. In total, Infineon has only produced
 22 306 documents that are to or from these customers out of its production of over
 23 50,000 documents—and, in almost all circumstances, it has done so when an
 24 Infineon Americas employee was part of the communication (or had the
 25 communication forwarded to it). When considering that these customers are located
 26 outside the United States, though, it is not a surprise to see so few communications,
 27 given that Infineon almost entirely focused its searches on Infineon Americas
 28 employees. Notably, and critically for this motion, Infineon did not search for the

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  1 emails for the customer account managers that its own witnesses have identified as
  2 being responsible for the relationships with at least Nokia, Huawei, ZTE, and
  3 Samsung. Banzhoff Decl., ¶24.
  4         Fourth, Infineon has refused to produce documents regarding any of its
  5 myriad affirmative defenses. Infineon cannot pursue defenses while simultaneously
  6 refusing to provide relevant discovery to MACOM.
  7         Fifth, and finally, Infineon has refused to produce information about products
  8 and technologies that directly compete with GaN-on-Si and therefore form a key
  9 part of MACOM’s damages theory.
 10         B.    Defendants’ Introduction
 11         Plaintiffs’ motion should be denied for each of the following five disputes.
 12         1.    IR acquisition. The IR acquisition was an enormous corporate
 13 acquisition—involving products, business lines, manufacturing facilities, technology,
 14 and intellectual property completely unrelated to this lawsuit. To give the Court some
 15 perspective, Infineon AG acquired IR for $3 billion—
 16                                                                                   . See
 17 Ex. A, Hack and Sheahan, “Inﬁneon agrees to buy Int’l Rectiﬁer for $3 billion in
 18 cash,” Reuters, August 20, 2014. Based on these figures, the technology, patents and
 19 agreement at issue in this lawsuit was less than       of the IR acquisition. Plaintiffs’
 20 argument                                   drove the $3 billion acquisition of the entire
 21 IR corporation strains credulity. Nevertheless, if Plaintiffs want to make this spurious
 22 argument, Defendants have agreed to produce those documents that may be relevant:
 23 IR acquisition documents relating to the technology, patents, and agreements at issue
 24 (i.e., GaN-on-Si technology, Nitronex, the Nitronex Patents, the 2004 License
 25 Agreement, the 2010 IP Purchase Agreement, or the 2010 License Agreement).
 26 Plaintiffs provide no justification for seeking ALL IR acquisition documents—
 27 including those unrelated to the technology, patents, and agreements at issue.
 28         2.    Non-infringement.      Plaintiffs next seek to compel responses to

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  1 Interrogatories Nos. 12 and 13 regarding noninfringement. Plaintiffs never met and
  2 conferred with Defendants regarding their responses to these interrogatories. As to
  3 Interrogatory No. 12, Defendants provided a substantive response, including a three-
  4 page narrative of non-infringement arguments that apply across all asserted claims
  5 and almost 30 pages of individual claim charts identifying non-infringement positions
  6 on element-by-element basis. Plaintiffs wrongly omitted this interrogatory response
  7 from the Joint Stipulation (in violation of Local Rule 37-2.1) so that they could argue
  8 that Defendants provided no substantive response. Plaintiffs also failed to identify
  9 what specific additional information they are seeking. As to Interrogatory No. 13,
 10 Defendants objected because the interrogatory exceeds the Court’s 25-interroagory
 11 limit. Plaintiffs’ Interrogatory No. 13 incorporates by reference 176 Requests for
 12 Admission and, if effect, turns each into a separate interrogatory. In their objections,
 13 Defendants indicated that they would answer for whatever specific RFAs Plaintiffs
 14 identify up to the Court’s 25-interrogatory limit. Plaintiffs never attempted to meet
 15 and confer. Based on Plaintiffs’ failure to meet and confer, Plaintiffs’ motion should
 16 be denied, and Plaintiffs should be sanctioned for forcing Defendants through this
 17 lengthy and time-consuming motions practice, without taking the simple and
 18 necessary step of picking up the phone to discuss the issues involved.
 19         3.    Customer communications. Plaintiffs’ motion should also be denied
 20 with respect to its complaints relating to Defendants’ production of customer
 21 communications about GaN-on-Si. The parties never met and conferred about the
 22 complaints about Defendants’ search Plaintiffs raise in this motion. Prior to receiving
 23 the motion itself, Defendants had no idea that Plaintiffs would be moving to compel
 24 on these requests. Indeed, until the motion was served, Plaintiffs’ last word on the
 25 subject was an e-mail stating that Plaintiffs would not be filing a motion on these
 26 requests. Had Plaintiffs actually raised their concerns with Defendants before filing,
 27 as the Local Rules require, it is likely the parties could have resolved or at least
 28 narrowed this dispute. Indeed, after learning about the complaints via receipt of this

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   1 stipulation, Defendants requested that Plaintiffs withdraw this issue from its motion
   2 so that the parties could have a meaningful meet and confer to try to resolve the issue,
   3 but Plaintiffs refused to do so. Defendants stand ready to meet and confer with
   4 Plaintiffs in a good faith attempt to eliminate or minimize the dispute. But until
   5 Plaintiffs are willing to do so, the Court should refuse to entertain this issue.
   6         4.    Affirmative Defenses. In their fourth set of requests, Plaintiffs seek
   7 production of documents that “relate to” all of Defendants’ affirmative defenses in
   8 response to sixteen RFPs. During the parties’ meet and confer, Defendants explained
   9 that these incredibly broad requests left Defendants in the dark as to what types of
  10 documents were actually being requested and how Defendants might go about
  11 searching for them. Defendants offered to produce all documents that they would rely
  12 upon at trial with respect to each affirmative defense. Plaintiffs seemed receptive of
  13 this compromise but have now had second thoughts—notwithstanding that Plaintiffs
  14 are not entitled to “all documents” that “relate to” each of Defendants’ affirmative
  15 defenses, as sought by these broadly worded RFPs.
  16         5.    GaN-SiC and LDMOS sales. Finally, Plaintiffs seek to compel
  17 production of documents regarding Defendants’ GaN-SiC and LDMOS sales. This
  18 lawsuit, however, relates to different technology referred to as GaN-Si. As a result,
  19 Plaintiffs do not even attempt to argue that the requested documents are related to the
  20 liability issues in this case. Instead, Plaintiffs rely solely on their damages claim to
  21 seek these documents. Defendants’ sales, however, could be relevant to only an
  22 unjust enrichment claim, but Plaintiffs are not legally entitled to unjust enrichment
  23 under California law where there is an express contract, which Plaintiffs allege exists
  24 between the parties. To the extent Plaintiffs seek this information as relevant to their
  25 lost profits claim, Plaintiffs offer no explanation about how Defendants’ sales are
  26 relevant to Plaintiffs’ lost profits. Aside from their legal irrelevance, Plaintiffs’
  27 requests are extraordinarily broad, seeking a whole industry’s worth of documents.
  28         For the reasons explained below, Plaintiffs’ motion should be denied in its

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   1 entirety.
   2 II.    FACTUAL BACKGROUND
   3        A.     MACOM’s Factual Background
   4 1.     Infineon Refuses to Produce Documents About Its Acquisition of IR
   5        Central to MACOM’s complaint, and particularly its tortious interference
   6 claim, are Infineon AG’s actions in acquiring IR (now Infineon Americas), followed
   7 by Infineon AG causing Infineon Americas to purport to terminate MACOM’s
   8 exclusive license (and then to breach it). See generally Dkt. 445. Accordingly,
   9 MACOM has sought documents regarding Infineon’s reasons for acquiring IR,
  10 which are fundamental to MACOM’s tortious interference claims, as well as its
  11 breach of contract claims. Moreover, Infineon AG has asserted the affirmative
  12 defense of the financial interest privilege (Dkt. 291), which also brings its own
  13 reasons for acquiring IR under scrutiny.
  14        In Request No. 44, MACOM sought documents regarding Infineon’s reasons
  15 for acquiring IR. Infineon did not agree to produce responsive documents, saying
  16 only that it would produce documents of far narrower scope—i.e., those related to
  17 “GaN-Si technology, Nitronex, the Nitronex Patents, the 2004 License Agreement,
  18 the 2010 IP Purchase Agreement, or the 2010 License Agreement.”
  19        MACOM requested a conference on this issue. See Ex. 16. When the parties
  20 conferred, Infineon continued to refuse to produce anything beyond this subset of
  21 documents. See Ex. 17.
  22        MACOM also served a request specifically seeking information about
  23 Infineon’s valuation of IR before it purchased it. See Ex. 20, Request No. 136. This
  24 request was markedly similar to Infineon’s Request No. 18, which sought
  25 information about MACOM’s valuation of Nitronex before its acquisition—which
  26 MACOM agreed to produce. Nonetheless, Infineon refused to produce any
  27 documents in response to MACOM’s Request No. 136, even though such
  28 documents are clearly relevant and important in the case.

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   1       REQUEST FOR PRODUCTION NO. 44
                 All documents relating to Infineon’s acquisition of International
   2
           Rectifier and Infineon’s reasons for acquiring International Rectifier.
   3
           RESPONSE:
   4              Defendants object to this Request because the phrases
   5       “Infineon’s acquisition” and “Infineon’s reasons” are vague,
           ambiguous, overbroad, and unduly burdensome, at least because the
   6       definition fails to provide the requisite specificity to determine which,
   7       if any, of Defendants the Request refers to. Defendants will properly
           limit production to documents related to Defendants, Infineon
   8       Americas and Infineon AG, subject to further objections. Defendants
   9       object to this Request as overly broad and unduly burdensome
           because it seeks discovery of “[a]ll documents relating to Infineon’s
  10       acquisition of International Rectifier and Infineon’s reasons for
  11       acquiring International Rectifier” without limitation. Defendants
           object to this Request as overly broad and unduly burdensome
  12       because it seeks information not limited to one or more claims or
  13       defenses of one or more of the parties. For example, not all documents
           relating to the acquisition of International Rectifier are relevant or
  14       likely to lead to the discovery of information relevant to this lawsuit.
  15       Defendants will produce responsive document to the extent that they
           relate to GaN-Si technology, Nitronex, the Nitronex Patents, the 2004
  16       License Agreement, the 2010 IP Purchase Agreement, or the 2010
  17       License Agreement.
                  Furthermore, Defendants object to this Request to the extent it
  18       calls for information protected from discovery by the attorney-client
  19       privilege, the attorney work-product doctrine, and/or any other
           applicable privilege or immunity, or that is otherwise protected from
  20       disclosure. Defendants further object to this Request insofar as it
  21       requests documents that may contain any trade secret or other
           confidential research, development, or commercial information of
  22
           Defendants, or of any third party to the extent such documents are in
  23       the possession of Defendants pursuant to confidentiality and
           nondisclosure restrictions imposed by contract or law, without a
  24
           protective order or equivalent protections by agreement of the parties
  25       in place to protect the confidentiality of such materials.
                  Subject to the foregoing General and Specific objections,
  26
           Defendants has produced or will produce relevant, non-privileged,
  27       non-cumulative, non-duplicative documents, located after a
           reasonable search, responsive to this request, to the extent that such
  28

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   1         documents exist and are in Defendants’ custody, possession, and
             control and to the extent that such documents relate to GaN-Si
   2
             technology, Nitronex, the Nitronex Patents, the 2004 License
   3         Agreement, the 2010 IP Purchase Agreement, or the 2010 License
             Agreement.
   4
   5         REQUEST FOR PRODUCTION NO. 136
                   All documents regarding Infineon’s valuation of International
   6
             Rectifier prior to its acquisition.
   7
             RESPONSE:
   8                In addition to the foregoing general objections, Defendants
   9         object to this Request as overbroad and unduly burdensome in that it
             seeks “[a]ll documents regarding Infineon’s valuation of International
  10         Rectifier prior to its acquisition” because it seeks information
  11         unrelated to any claims or defenses of one or more of the parties and
             because it does not place any limitation on the relevant time period.
  12         Further, Defendants object to this Request insofar as it requests
  13         documents that may contain any trade secret or other confidential
             research, development, or commercial information of Defendants, or
  14         of any third party to the extent such documents are in the possession
  15         of Defendants pursuant to confidentiality and non-disclosure
             restrictions imposed by contract or law, without a protective order or
  16         equivalent protections by agreement of the parties in place to protect
  17         the confidentiality of such materials. Additionally, Defendants object
             to this Request to the extent it calls for information protected from
  18         discovery by the attorney-client privilege, the attorney work-product
  19         doctrine, and/or any other applicable privilege or immunity, or that is
             otherwise protected from disclosure. Defendants also object to this
  20         Request as duplicative of Request No. 44.
  21                Based on the foregoing general and specific objections,
             Defendants will not produce documents in response to this request.
  22
  23 2.      Infineon Refuses To Provide Its Noninfringement Theories To MACOM
  24         In this case, Infineon has taken the position that, for MACOM to prove its
  25 claims that Infineon is breach of its promise that Infineon will not market or sell
  26 GaN-on-Si products in MACOM’s exclusive field, MACOM must prove that
  27 Infineon’s products meet the limitations of specific claims of specific Nitronex
  28 Patents.

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   1          Infineon therefore served an interrogatory seeking MACOM’s “infringement”
   2 theories for all of the claims that MACOM alleges that Infineon is practicing. In
   3 response, MACOM provided thousands of pages of detailed “infringement” charts
   4 for Infineon’s products. 2 These were all served in November of 2017. An exemplar
   5 chart demonstrating the specificity of MACOM’s allegations is attached as Exhibit
   6 8.
   7          Infineon denies that it practices any claim of any of the many Nitronex
   8 Patents in breach of its promise of exclusivity to MACOM. Dkt. 461 at ¶275.
   9 MACOM has attempted two approaches to extract Infineon’s position as to the
  10 technical arguments as to why it supposedly does not practice the patents at issue.
  11 First, it served an interrogatory on Infineon that requested Infineon’s
  12 “noninfringement” arguments. See Ex. 9 at 7 (Interrogatory No. 12). Second, it
  13 served RFAs that lay out each of Infineon’s products and the patent claims currently
  14 at issue and ask for Infineon’s admission or denial as to whether Infineon’s products
  15 practice the elements of each claim. Ex. 10 at Request Nos. 6-181. MACOM also
  16 served an interrogatory seeking an explanation for Infineon’s denial of any RFAs,
  17 Interrogatory No. 13. Ex. 11.
  18          Unfortunately, Infineon chose to stonewall in its response to each of these
  19 requests. For Interrogatory No. 12, Infineon provided a chart for each patent claim
  20 that provides no information about its noninfringement positions. See Ex. 9.
  21 Instead, for each claim, Infineon states only that “Plaintiffs have not shown” or
  22 “Plaintiffs’ infringement analysis does not show” that Infineon’s products meet the
  23 relevant claim language. E.g., Ex. 9 at 11. Indeed, Infineon refused to even
  24
       2
  25       Because this is a contract case (not a patent infringement case), and because
           Infineon currently owns the Nitronex Patents, these are not technically
  26       “infringement” charts, but they do demonstrate that Infineon practices the
  27       Nitronex Patents in the same way that an infringement chart would. These charts
           also contain the same contents that an infringement chart would, if MACOM
  28       owned the patents and Infineon was an unlicensed infringer.

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   1 acknowledge in its interrogatory response that its products are semiconductor
   2 devices, a position that cannot be credibly defended. Id. Essentially, it provided a
   3 chart with nothing of substance in it. 3
   4          For the RFAs and Interrogatory No. 13, Infineon also played coy. It denied
   5 all of the RFAs, but it refused to provide an explanation of the denial in
   6 Interrogatory No. 13, claiming instead that MACOM needed to serve individual
   7 interrogatories directed to each of the RFAs (see Ex. 11), despite the fact that it
   8 successfully advocated for a limit of only twenty-five interrogatories in this case.
   9 The parties discussed these issues, and Infineon’s deficient responses, at length, and
  10 they have even partially briefed the issue before the Court in connection with
  11 Infineon’s unsuccessful attempt to quash the RFAs. See Dkt. 472-2. Infineon has
  12 nevertheless maintained its responses stating only that MACOM has not proved
  13 infringement are proper. See id.
  14          Interrogatory No. 13 requests:
  15          INTERROGATORY NO. 13:
                      For any of Requests for Admission Nos. 5-181 for which your
  16
              response was not an unqualified admission, explain why, including
  17          an identification of which particular element(s) you do not believe the
              identified product practices, and all factual and legal bases for that
  18
              belief.
  19
              RESPONSE:
  20                  In addition to the foregoing general objections, Infineon
  21          Americas objects to this Interrogatory as overly broad, unduly
              burdensome, vague, and ambiguous in that it seeks information related
  22          to 176 Requests for Admission. Infineon Americas further objects to
  23          this interrogatory as it is compound and includes more than one discrete
              subpart that constitutes separate interrogatories that counts toward the
  24          limit on interrogatories that Plaintiffs are permitted to propound under
  25          Federal Rule of Civil Procedure 33 and all applicable Court orders.
              Plaintiff, thus, has exceeded the limit on interrogatories permitted under
  26
  27
       3
           For space reasons, MACOM has not pasted the request and 50-page chart with
  28       no substantive responses here. These are contained in Ex. 9.
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   1        Federal Rule of Civil Procedure 33 and all applicable Court orders.
            Additionally, Defendants object to this Interrogatory as premature
   2
            given that responses to MACOM’s Request for Admission 5-181 are
   3        not yet due.
                   Subject to and without waiving the foregoing general and
   4
            specific objections, Defendants respond that this Interrogatory is
   5        premature. If and when Defendants respond to MACOM’s Request
            for Admissions, MACOM is free to serve individual interrogatories to
   6
            specifically identified responses to MACOM’s Requests for
   7        Admission that don’t exceed the limit on interrogatories that Plaintiff
            is permitted to propound under Federal Rule of Civil Procedure 33
   8
            and all applicable Court orders.
   9
  10 3.     Infineon Refuses to Produce Customer Communications
  11        MACOM has sought Infineon’s communications with the five relevant

  12 basestations customers: Ericsson, Nokia, ZTE, Huawei, and Samsung. See, e.g.,
  13 Ex. 3 at Request Nos. 16, 19, 20, 21, 83. These requests are set forth below in full.
  14        Infineon agreed it would produce documents responsive to requests for

  15 customer communications. Id. One would expect, moreover, that Infineon would
  16 have a large number of communications with its customers, both because the types
  17 of products at issue in this case are generally designed over a period of years, hand-
  18 in-hand with customers, and because Infineon was offering multiple different
  19 competing products (GaN-on-Si, GaN-on-SiC, and LDMOS) to its customers
  20 simultaneously. See, e.g., Dkt. 217-9 at ¶¶11-20; Ex. 6 (Tr. of Infineon R&D
  21 Director S. Ward, at 92:18-93:12 (“discussion with the customer as to their
  22 application” that requires a “large application team”)). But Infineon did not conduct
  23 a reasonable search for such documents and produce them from the sources and
  24 witnesses from whom they would most naturally be obtained.
  25        MACOM was aware at the outset that Infineon might not produce the most

  26 relevant customer communications. Therefore, when Infineon began its
  27 productions, MACOM wrote to Infineon and raised its concerns that Infineon was
  28 not providing customer communications. Infineon’s counsel responded to assure

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   1 MACOM that “[w]e have and will continue to produce customer communications as
   2 indicated in our responses to your document requests.” Ex. 4 (email from Infineon
   3 dated March 2, 2018).
   4        MACOM further met-and-conferred with Infineon on the issue of customer
   5 communications in March, 2018. Ex. 5. During that meet and confer, Infineon
   6 went even further and stated that it was not only not withholding customer
   7 communications, but that it was specifically conducting a search for
   8 communications with basestation customers. See id.
   9        Infineon’s assurances turned out to be false. To date, Infineon has only
  10 produced 306 documents (out of over 50,000) that are to or from customers. See
  11 Banzhoff Decl. ¶25. This low number alone makes clear that Infineon did not
  12 adequately search for these communications. This low number of hits is
  13 unsurprising, however, given that Infineon has not produced a single document
  14 from, and therefore has presumably failed to conduct any searches of the emails for,
  15 the very Infineon account managers who are responsible for the basestation
  16 customers. Compare Ex. 7, Hugo Tr. at 22:18-29:25 (identifying account managers
  17 for basestation customers that do not appear as custodians in Infineon’s documents,
  18 including
  19                                            with Banzhoff Decl. ¶25.
  20        Notably, the overwhelming majority (i.e., 228 of the 306 customer
  21 communications that Infineon has produced are communications with Ericsson.
  22 Banzhoff Decl. ¶25. This contrasts to much smaller numbers produced for Huawei
  23 (13), Nokia (51), and ZTE (8), and Samsung (6). Id. This is perhaps unsurprising,
  24 however, since Infineon did search at least some of the Infineon personnel
  25 responsible for the Ericsson relationship. Id.; Ex. 7.
  26        Even for Ericsson, however, it appears (based on MACOM’s review of the
  27 limited number of customer communications produced) that Infineon necessarily
  28 must have applied unduly narrow search terms to its production—perhaps only

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   1 “GaN-on-Si.” But Infineon employees have often resorted to vaguely referring to
   2 “GaN” generally or “code” names, like “low-cost alternative,” when they wanted to
   3 avoid appearing in breach of Infineon’s agreements with MACOM. See, e.g., Ex.
   4 23.
   5        Many of MACOM’s requests call for Infineon’s communications with
   6 basestation customers, including the following (all of which Infineon promised to
   7 conduct a “reasonable search” in response to):
   8        REQUEST FOR PRODUCTION NO. 16:
                  All documents relating to Infineon’s statements,
   9
            representations, and communications, to customers, potential
  10        customers, the media, investors, and investment analysts relating to its
            present or future GaN-on-Si RF technologies, wafers, products,
  11
            technology plans, product plans, or wafer plans.
  12
            RESPONSE:
  13               Defendants object to this Request because the term “Infineon’s”
  14        is vague, ambiguous, overbroad, and unduly burdensome, at least
            because the definition fails to provide the requisite specificity to
  15        determine which, if any, of Defendants the Request is directed
  16        towards. Defendants will properly limit production to documents
            related to one or more Infineon Americas and/or Infineon AG.
  17               Defendants object to the terms and phrases “statements,”
  18        “representations,” “communications,” “customers”, “potential
            customers,” “the media,” “investors,” and “investment analysts,” as
  19        vague and ambiguous. Defendants also object to this Request as
  20        overly broad and unduly burdensome because it seeks discovery of
            “[a]ll documents relating to . . . present or future GaN-on-Si RF
  21        technologies, wafers, products, technology plans, product plans, or
  22        wafer plans” without limitation. Defendants object to this Request as
            overly broad and unduly burdensome because it seeks information not
  23        limited to a claim or defense of one or more of the parties.
  24               Defendants also object to this Request to the extent it purports
            to require Defendants to furnish information that is equally available
  25        and/or publicly accessible to MACOM.
  26               Defendants further object to this Request as overly broad and
            unduly burdensome because it does not place any limitation on the
  27        relevant time period.
  28

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   1              Subject to the foregoing General and Specific objections,
           Defendants has produced or will produce relevant, non-privileged,
   2
           non-cumulative, non-duplicative documents from January 13, 2015
   3       to present, located after a reasonable search, responsive to this
           request, to the extent that such documents exist and are in
   4
           Defendants’ custody, possession, and control.
   5
           REQUEST FOR PRODUCTION NO. 19
   6
                 All documents relating to any communications, meetings, or
   7       contacts between Infineon and any third party (including to Nokia,
           Ericsson, Huawei, ZTE and any other maker of wireless infrastructure
   8
           equipment) regarding current, future, or potential GaN-on-Si RF
   9       technology, wafers, and/or products.
  10       RESPONSE:
  11              Defendants object to this Request because the phrase “between
           Infineon and any third party” is vague, ambiguous, overbroad, and
  12       unduly burdensome, at least because the definition fails to provide the
  13       requisite specificity to determine which, if any, of Defendants the
           Request refers to. Defendants will properly limit production to
  14       documents related to communications between Infineon Americas
  15       and/or Infineon AG and third parties. Defendants object to this
           Request as overly broad and unduly burdensome because it seeks
  16       discovery of “[a]ll documents . . . regarding current, future, or
  17       potential GaN-on-Si RF technology, wafers, and/or products” without
           limitation.
  18              Defendants object to this Request as overly broad and unduly
  19       burdensome because it seeks information not limited to a claim or
           defense of one or more of the parties. For example, it is not limited to
  20       Defendants’ GaN-on-Si RF technology, wafers, or products.
  21       Defendants further object to this Request to the extent it is duplicative
           of one or more of Request Nos. 16 and 17. Defendants further object
  22
           to this Request as overly broad and unduly burdensome because it
  23       does not place any limitation on the relevant time period.
                  Subject to the foregoing General and Specific objections,
  24
           Defendants has produced or will produce relevant, non-privileged,
  25       non-cumulative, non-duplicative documents limited to
           communications regarding Defendants’ GaN-on-Si RF technology,
  26
           wafers, and/or products from January 13, 2015 to present, located
  27       after a reasonable search, responsive to this request, to the extent
  28

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   1       that such documents exist and are in Defendants’ custody, possession,
           and control.
   2
   3       REQUEST FOR PRODUCTION NO. 20
                   All documents relating to any communications, meetings, or
   4
           contacts between Infineon and any third party (including to Nokia,
   5       Ericsson, Huawei, ZTE and any other maker of wireless infrastructure
           equipment) regarding MACOM’s GaN-on-Si products or this
   6
           litigation.
   7
           RESPONSE:
   8              Defendants object to this Request because the term “Infineon”
   9       is vague, ambiguous, overbroad, and unduly burdensome, at least
           because the definition fails to provide the requisite specificity to
  10       determine which, if any, of Defendants the Request is directed
  11       towards. Defendants will properly limit the production of documents
           to those related to communications between third parties and one or
  12       more of Defendants, Infineon Americas and Infineon AG.
  13              Defendants also object to this Request to the extent this Request
           seeks information in the possession, custody, or control of MACOM
  14       and/or third parties. Furthermore, Defendants object to this Request to
  15       the extent it calls for information protected from discovery by the
           attorney-client privilege, the attorney work-product doctrine, and/or
  16       any other applicable privilege or immunity, or that is otherwise
  17       protected from disclosure. Defendants further object to this Request
           insofar as it requests documents that may contain any trade secret or
  18       other confidential research, development, or commercial information
  19       of Defendants, or of any third party to the extent such documents are
           in the possession of Defendants pursuant to confidentiality and non-
  20       disclosure restrictions imposed by contract or law, without a
  21       protective order or equivalent protections by agreement of the parties
           in place to protect the confidentiality of such materials.
  22
                  Defendants further object to this Request to the extent it is
  23       duplicative of one or more of Request Nos. 16 and 17. Defendants
           further object to this Request as overly broad and unduly burdensome
  24
           because it does not place any limitation on the relevant time period.
  25              Subject to the foregoing General and Specific objections,
           Defendants has produced or will produce relevant, non-privileged,
  26
           non-cumulative, non-duplicative documents from January 13, 2015
  27       to present, located after a reasonable search, responsive to this
  28

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   1       request, to the extent that such documents exist and are in
           Defendants’ custody, possession, and control.
   2
   3       REQUEST FOR PRODUCTION NO. 21
                 All documents relating to the Ericsson AAS AFE module
   4
           “collaboration activity.”
   5
           RESPONSE:
   6              Defendants object to this Request as overly broad and unduly
   7       burdensome because it seeks discovery of “all documents relating to
           the Ericsson AAS AFE module ‘collaboration activity’” without
   8       limitation. Defendants will properly limit production to documents
   9       related to GaN-on-Si RF products Defendants further object to the
           extent this Request seeks information in the possession, custody, or
  10       control of MACOM and/or third parties other than Defendants.
  11       Furthermore, Defendants object to this Request to the extent it calls
           for information protected from discovery by the attorney-client
  12       privilege, the attorney work-product doctrine, and/or any other
  13       applicable privilege or immunity, or that is otherwise protected from
           disclosure. Defendants also object to this Request insofar as it
  14       requests documents that may contain any trade secret or other
  15       confidential research, development, or commercial information of
           Defendants, or of any third party to the extent such documents are in
  16       the possession of Defendants pursuant to confidentiality and non-
  17       disclosure restrictions imposed by contract or law, without a
           protective order or equivalent protections by agreement of the parties
  18       in place to protect the confidentiality of such materials.
  19              Defendants object to this Request as overly broad and unduly
           burdensome because it seeks information not limited to a claim or
  20       defense of one or more of the parties. For example, it is not limited to
  21       GaN-on-Si RF technology, wafers, or products.
                  Subject to the foregoing General and Specific objections,
  22
           Defendants has produced or will produce relevant, non-privileged,
  23       non-cumulative, non-duplicative documents, located after a
           reasonable search, responsive to this request, to the extent that such
  24
           documents exist and are in Defendants’ custody, possession, and
  25       control and to the extent that those documents relate to GaN-on-Si RF
           technology, wafers, or products
  26
  27       REQUEST FOR PRODUCTION NO. 83
  28

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   1                All documents relating to any communication with Nokia,
             Ericsson, Huawei, ZTE, and/or any other maker of wireless
   2
             infrastructure equipment regarding Infineon’s intention to offer a full
   3         portfolio of RF power products based on multiple technologies (such
             as GaN, LDMOS, or others).
   4
   5         RESPONSE:
                    In addition to the foregoing general objections, Defendants
   6         object to this Request as duplicative of MACOM’s Request for
   7         Production No. 19. Defendants further object to this Request as
             overbroad and unduly burdensome in that it seeks “[a]ll documents
   8         relating to any communication with Nokia, Ericsson, Huawei, ZTE,
   9         and/or any other maker of wireless infrastructure equipment regarding
             Infineon’s intention to offer a full portfolio of RF power products
  10         based on multiple technologies.” Defendants further object to this
  11         Request as overly broad and unduly burdensome because it does not
             place any limitation on the relevant time period. Defendants object to
  12         the use of the terms “maker of wireless infrastructure equipment,”
  13         “intention to offer a full portfolio,” “RF power products,” and “based
             on multiple technologies,” as rendering the Request vague,
  14         ambiguous, overly broad, and unduly burdensome.
  15                Subject to and without waiving these general and specific
             objections, Defendants have produced or will produce relevant, non-
  16         privileged, noncumulative, non-duplicative documents, located after
  17         a reasonable search, responsive to this Request limited to
             Defendants’ communications with Nokia, Ericsson, Huawei, ZTE,
  18         or Samsung from January 13, 2015 to present, to the extent that such
  19         documents exist and are in Defendants’ custody, possession, and
             control. Negotiations with MACOM are ongoing as to the timing of
  20         document productions.
  21
       (Emphasis added.)
  22
  23 4.      Infineon Refuses To Produce Documents Regarding Its Affirmative
             Defenses
  24
             In their answers, Infineon Americas and Infineon AG individually and
  25
       collectively asserted a long list of affirmative defenses, including (among others)
  26
       prosecution history estoppel, illegality/unenforceability of Section 2.1 of the 2010
  27
       License Agreement, financial interest privilege, advisor’s privilege, competitors’
  28

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   1 privilege, “equitable defense,” failure to mitigate damages, and “limitations on
   2 damages.” 4 Dkt. 291; Dkt. 323-1.
   3          MACOM has made repeated efforts to obtain discovery on these affirmative
   4 defenses, only to be blocked by Infineon at every turn.
   5          First, MACOM propounded Request for Production No. 88, which sought:
   6 “All documents related to Infineon’s affirmative defenses, as set forth in Infineon
   7 Americas’ Second Amended Answer and Counterclaim (Dkt. 323-1) and Infineon
   8 AG’s Answer and Affirmative Defenses (Dkt. 291).” Ex. 21. Infineon responded
   9 that “Defendants will not produce documents in response to this Request.” Id.
  10          MACOM then sought to meet-and-confer with Infineon on this issue. Ex. 12.
  11 (January 4, 2018 letter). When the parties conferred, Infineon maintained its
  12 objection to producing any documents in response to this request, contending that it
  13 was overbroad. Ex. 13.
  14          Although it disagreed with Infineon’s position, MACOM nevertheless then
  15 served requests directed to each individual affirmative defense Infineon raised
  16 (example pasted below) to attempt to resolve Infineon’s objection. See Ex. 14 at
  17 Request Nos. 104-118.
  18          When Infineon responded to these requests, it still refused to produce any
  19 documents. Id. MACOM again conferred with Infineon, but Infineon remained
  20 steadfast in its refusal to produce any responsive documents regarding its
  21 affirmative defenses. See Ex. 15.
  22          REQUEST FOR PRODUCTION NO. 88
                     All documents related to Infineon’s affirmative defenses, as set
  23
              forth in Infineon Americas’ Second Amended Answer and
  24          Counterclaim (Dkt. 323-1) and Infineon AG’s Answer and
              Affirmative Defenses (Dkt. 291).
  25
  26   4
           At the time these requests were propounded, the operative answers were
  27       Infineon’s answers to the Second Amended Complaint, Dkt. 291 and 323-1.
           Infineon has since amended its answers to add additional defenses, but the
  28       original defenses list here remain at issue.
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   1          RESPONSE:
                     In addition to the foregoing general objections, Defendants
   2
              object to this Request as vague, ambiguous, overbroad and unduly
   3          burdensome in that it seeks “All documents related to Infineon’s
              affirmative defenses” without limitation and to the extent it seeks
   4
              documents that are not proportional to the needs of this action.
   5          Defendants further object to this Request as overbroad and unduly
              burdensome as it fails to state with particularity the documents sought
   6
              by the Request. Furthermore, Defendants object to this Request to the
   7          extent it calls for information protected from discovery by the
              attorney-client privilege, the attorney work-product doctrine, and/or
   8
              any other applicable privilege or immunity, or that is otherwise
   9          protected from disclosure. Defendants also object to the extent this
  10          Request seeks information in the possession, custody, or control of
              MACOM and/or third parties other than Defendants.
  11                 Based on the foregoing general and specific objections,
  12          Defendants will not produce documents in response to this Request.

  13          REQUEST FOR PRODUCTION NO. 109
  14                 All documents related to Infineon’s affirmative defense of
              “Illegality/Unenforceability of Section 2.1.”
  15
              RESPONSE:
  16                  In addition to the foregoing general objections, Defendants
  17          object to this Request as vague, ambiguous, overbroad and unduly
              burdensome in that it seeks “[a]ll documents related to Infineon’s
  18          affirmative defense of ‘Illegality/Unenforceability of Section 2.1,’” as
  19          it fails to state with particularity the documents sought by the Request.
              Additionally, Defendants object to this Request to the extent it calls
  20          for information protected from discovery by the attorney-client
  21          privilege, the attorney work-product doctrine, and/or any other
              applicable privilege or immunity, or that is otherwise protected from
  22          disclosure. Defendants also object to the extent this Request seeks
  23          information in the possession, custody, or control of MACOM and/or
              third parties other than Defendants. Further, Defendants object to this
  24          request in that it amounts to a request to marshal all of Defendants’
  25          evidence.
                      Based on the foregoing general and specific objections,
  26          Defendants will not produce documents in response to this request. 5
  27
       5
  28       For space reasons, MACOM includes a single exemplar of its individual

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   1 5.      Infineon Refuses To Provide Information On GaN-on-SiC or LDMOS
   2         For RF power amplifier products for basestations, there are three competing

   3 technologies. Traditionally, these products were made from wafers of silicon (Si)
   4 using a process known as LDMOS (laterally diffused metal oxide semiconductor).
   5 See Ex. 18 at ¶12. LDMOS technologies are cheap, but struggle to meet today’s
   6 performance requirements. Id. at ¶13. GaN-on-SiC and GaN-on-Si have therefore
   7 emerged as alternatives to LDMOS. Id. at ¶¶14-18.
   8      GaN-on-SiC products perform well, but are expensive. Id. at ¶15. GaN-on-

   9 Si presents the happy medium: it is cheaper than GaN-on-SiC, but performs better
  10 than LDMOS. MACOM placed its bets—and invested enormous sums of
  11 money—on its belief that GaN-on-Si is the product of the future. Market adoption
  12 for these types of products can be slow, however, given that it takes years to design
  13 the products in question, which are technically complex, and given that customers
  14 are risk-averse.
  15         MACOM offers only GaN-on-Si RF basestation products. Historically,

  16 Infineon has offered GaN-on-SiC products and LDMOS products. With its
  17 purchase of IR and the events that have followed, Infineon is attempting to also
  18 launch GaN-on-Si products.
  19       Infineon’s actions before this suit was filed and during the first two years it

  20 has been litigated demonstrate why revenues relating to GaN-on-SiC and LDMOS
  21 sales are relevantly. First, in purporting to terminate MACOM’s license agreement
  22 (an action that the Federal Circuit has already confirmed as a matter of law was
  23 ineffective), Infineon sowed market confusion with customers who were no longer
  24 sure that they could safely buy from MACOM. Ex. 19. Second, MACOM
  25 contends that Infineon did its best to persuade customers to wait for Infineon’s
  26
  27      requests, does not include each of Request Nos. 104-118. Those requests are set
  28      forth in Ex. 14, and are similar in form to Request No. 109, set forth here.

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   1 GaN-on-Si products to be ready—using its GaN-on-SiC and LDMOS products
   2 meanwhile—rather than buying MACOM. Id. Such actions necessarily diverted
   3 GaN-on-Si sales away from MACOM. 6
   4          Accordingly, in Request Nos. 125-126, MACOM sought basic sales,
   5 projection, strategy, and pricing documents from Infineon regarding GaN-on-SiC
   6 and LDMOS technologies. Ex. 20. MACOM has made clear in its damages
   7 interrogatory response the relevancy of this information to its damages theory. See
   8 Ex. 19. Infineon has refused to produce any such documents. Infineon limited its
   9 responses, which seek information relating to projections and business strategy
  10 documents for Infineon’s PL54 or RF Power group, to only documents that “relate
  11 to RF GaN-on-Si.” Ex. 20. Likewise, in response to Request No. 127, Infineon
  12 only agreed to produce documents related to industry reports discussing GaN-on-Si
  13 and not either GaN more generally or GaN-on-SiC specifically. See id. In
  14 response to Request Nos. 137-138, Infineon refused to produce documents
  15 regarding its pricing for GaN-on-SiC and LDMOS products. See id. Similarly,
  16 Infineon refused to produce any documents regarding Infineon’s strategy or
  17 projections for 5G cellular technologies as they relate to GaN-on-SiC or LDMOS
  18 in response to Request Nos. 141-142 and 144-145. See id.
  19          REQUEST FOR PRODUCTION NO. 125
                     All documents relating to any revenue, cost, or profit projections
  20
              for the PL54 or RF Power group.
  21
              RESPONSE:
  22                In addition to the foregoing general objections, Defendants
  23          object to this Request as overbroad and unduly burdensome in that it
  24
       6
  25       More recently, two years into this litigation, Infineon announced the sale of its
           GaN-on-SiC and LDMOS RF power technologies to a third-party company for
  26       $430 million. Given that Infineon’s breaches of its agreements with MACOM
  27       artificially inflated the value of these sold assets, the sale of the business is also
           relevant to MACOM’s damages theory, as MACOM’s damages interrogatory
  28       response explains.
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   1       seeks “all documents relating to any revenue, cost, or profit projections
           for the PL54 or RF Power group” because it seeks information
   2
           unrelated to any claims or defenses of one or more of the parties and
   3       because it does not place any limitation on the relevant time period.
           Defendants also object to this Request insofar as it requests documents
   4
           that may contain any trade secret or other confidential research,
   5       development, or commercial information of Defendants, or of any third
           party to the extent such documents are in the possession of Defendants
   6
           pursuant to confidentiality and non-disclosure restrictions imposed by
   7       contract or law, without a protective order or equivalent protections by
           agreement of the parties in place to protect the confidentiality of such
   8
           materials.
   9       Subject to and without waiving these general and specific objections,
  10              Defendants will produce relevant, non-privileged, non-
           cumulative, non-duplicative documents, located after a reasonable
  11       search, responsive to this Request, to the extent that such documents
  12       relate to RF GaN-on-Si, exist, and are in Defendants’ custody,
           possession, and control.
  13
  14       REQUEST FOR PRODUCTION NO. 126:
                 All quarterly business reviews or other documents for the PL54
  15       or RF Power group related to business strategy, performance, plans,
  16       and/or projections.

  17       RESPONSE:
                  In addition to the foregoing general objections, Defendants
  18       object to this Request as overbroad and unduly burdensome in that it
  19       seeks “all quarterly business reviews or other documents for the PL54
           or RF Power group related to business strategy, performance, plans,
  20       and/or projections” because it seeks information unrelated to any
  21       claims or defenses of one or more of the parties and because it does
           not place any limitation on the relevant time period. Defendants
  22
           further object to the terms “business reviews,” “business strategy,”
  23       and performance” as vague and ambiguous. Defendants also object to
           this Request insofar as it requests documents that may contain any
  24
           trade secret or other confidential research, development, or
  25       commercial information of Defendants, or of any third party to the
           extent such documents are in the possession of Defendants pursuant to
  26
           confidentiality and non-disclosure restrictions imposed by contract or
  27       law, without a protective order or equivalent protections by agreement
           of the parties in place to protect the confidentiality of such materials.
  28

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   1       Defendants further object to this Request to the extent it calls for
           information protected from discovery by the attorney-client privilege,
   2
           the attorney work-product doctrine, and/or any other applicable
   3       privilege or immunity, or that is otherwise protected from disclosure.
                  Subject to and without waiving these general and specific
   4
           objections, Defendants will produce relevant, non-privileged, non-
   5       cumulative, non-duplicative documents, located after a reasonable
           search, responsive to this Request, to the extent that such documents
   6
           related to RF GaN-on-Si, exist, and are in Defendants’ custody,
   7       possession, and control.
   8
           REQUEST FOR PRODUCTION NO. 127
   9             All industry reports related to the basestation industry, including
  10       any reports discussing GaN-on-Si, GaN-on-SiC, and/or LDMOS.

  11       RESPONSE:
                  In addition to the foregoing general objections, Defendants
  12       object to this Request as overbroad and unduly burdensome in that it
  13       seeks “all industry reports related to the basestation industry, including
           any reports discussing GaN-on-Si, GaN-on-SiC, and/or LDMOS”
  14       because it seeks information unrelated to any claims or defenses of one
  15       or more of the parties and because it does not place any limitation on
           the relevant time period. Defendants also object to the term “basestation
  16       industry” and “reports” as ambiguous and vague. Defendants also
  17       object to the extent this Request seeks information in the possession,
           custody, or control of MACOM and/or third parties other than
  18       Defendants. Further, Defendants object to this Request insofar as it
  19       requests documents that may contain any trade secret or other
           confidential research, development, or commercial information of
  20       Defendants, or of any third party to the extent such documents are in
  21       the possession of Defendants pursuant to confidentiality and non-
           disclosure restrictions imposed by contract or law, without a protective
  22
           order or equivalent protections by agreement of the parties in place to
  23       protect the confidentiality of such materials.
                  Subject to and without waiving these general and specific
  24
           objections, Defendants will produce relevant, non-privileged, non-
  25       cumulative, non-duplicative documents, located after a reasonable
           search, relating to reports discussing GaN-on-Si in the base station
  26
           industry, to the extent that such documents exist and are in Defendants’
  27       custody, possession, and control.
  28

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   1
   2
           REQUEST FOR PRODUCTION NO. 137
   3            All documents regarding Infineon’s prices, or intended prices, of
           GaN-on-Si products or technology for basestations.
   4
   5       RESPONSE:
                  In addition to the foregoing general objections, Defendants
   6       object to this Request as overbroad and unduly burdensome in that
   7       it seeks “[a]ll documents regarding Infineon’s prices, or intended
           prices, of GaN-on-Si products or technology for basestations”
   8       because it seeks information that is not relevant to one or more claims
   9       of one or more of the parties or proportional to the needs of this case.
           Further, Defendants object to this Request insofar as it requests
  10       documents that may contain any trade secret or other confidential
  11       research, development, or commercial information of Defendants
           pursuant to confidentiality and non- disclosure restrictions imposed
  12       by contract or law, without a protective order or
  13       equivalent protections by agreement of the parties in place to protect
           the confidentiality of such materials. Additionally, Defendants object
  14       to this Request to the extent it calls for information protected from
  15       discovery by the attorney-client privilege, the attorney work-product
           doctrine, and/or any other applicable privilege or immunity, or that is
  16       otherwise protected from disclosure.
  17              Subject to and without waiving these general and specific
           objections, Defendants will produce relevant, non-privileged, non-
  18       cumulative, non-duplicative documents, located after a reasonable
  19       search, responsive to this Request, to the extent that such documents
           relate to GaN-on-Si RF, exist, and are in Defendants’ custody,
  20       possession, and control.
  21
           REQUEST FOR PRODUCTION NO. 138
  22
                All documents regarding Infineon’s prices, or intended prices, of
  23       GaN-on- SiC products or technology for basestations.
  24       RESPONSE:
  25              In addition to the foregoing general objections, Defendants
           object to this Request as overbroad and unduly burdensome in that
  26       it seeks “[a]ll documents regarding Infineon’s prices, or intended
  27       prices, of GaN-on-Sic products or technology for basestations”
           because it seeks information that is not relevant to one or more claims
  28       of one or more of the parties or proportional to the needs of this case.

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   1       Further, Defendants object to this Request insofar as it requests
           documents that may contain any trade secret or other confidential
   2
           research, development, or commercial information of Defendants
   3       pursuant to confidentiality and non- disclosure restrictions imposed
           by contract or law, without a protective order or equivalent protections
   4
           by agreement of the parties in place to protect the confidentiality of
   5       such materials. Additionally, Defendants object to this Request to the
           extent it calls for information protected from discovery by the attorney-
   6
           client privilege, the attorney work-product doctrine, and/or any other
   7       applicable privilege
           or immunity, or that is otherwise protected from disclosure.
   8
                  Based on the foregoing general and specific objections,
   9       Defendants will not produce documents in response to this request.
  10
           REQUEST FOR PRODUCTION NO. 141
  11             All documents regarding Infineon’s strategy for GaN-on-SiC
  12       technology or products for 5G.

  13       RESPONSE:
                   In addition to the foregoing general objections, Defendants
  14       object to this Request as overbroad and unduly burdensome in that
  15       it seeks “[a]ll documents regarding Infineon’s strategy for GaN-on-
           SiC technology or products for 5G” because it seeks information that is
  16       not relevant to one or more claims of one or more of the parties or
  17       proportional to the needs of this case. Further, Defendants object to this
           Request insofar as it requests documents that may contain any trade
  18       secret or other confidential research, development, or commercial
  19       information of Defendants pursuant to confidentiality and non-
           disclosure restrictions imposed by contract or law, without a protective
  20       order or equivalent protections by agreement of the parties in place to
  21       protect the confidentiality of such materials. Additionally, Defendants
           object to this Request to the extent it calls for information protected
  22
           from discovery by the attorney-client privilege, the attorney work-
  23       product doctrine, and/or any other applicable privilege or immunity, or
           that is otherwise protected from disclosure.
  24
                   Based on the foregoing general and specific objections,
  25       Defendants will not produce documents in response to this request.
  26
           REQUEST FOR PRODUCTION NO. 142
  27             All documents regarding Infineon’s strategy for LDMOS
           technology or products for 5G.
  28

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   1       RESPONSE:
                  In addition to the foregoing general objections, Defendants
   2
           object to this Request as overbroad and unduly burdensome in that
   3       it seeks “[a]ll documents regarding Infineon’s strategy for LDMOS
           technology or products for 5G” because it seeks information that is not
   4
           relevant to one or more claims of one or more of the parties or
   5       proportional to the needs of this case. Further, Defendants object to this
           Request insofar as it requests documents that may contain any trade
   6
           secret or other confidential research, development, or commercial
   7       information of Defendants pursuant to confidentiality and non-
           disclosure restrictions imposed by contract or law, without a protective
   8
           order or equivalent protections by agreement of the parties in place to
   9       protect the confidentiality of such materials. Additionally, Defendants
  10       object to this Request to the extent it calls for information protected
           from discovery by the attorney-client privilege, the attorney work-
  11       product doctrine, and/or any other applicable privilege or immunity,
  12       or that is otherwise protected from disclosure.
                  Based on the foregoing general and specific objections,
  13       Defendants will not
  14       produce documents in response to this request.

  15       REQUEST FOR PRODUCTION NO. 144
  16            All documents regarding revenue, cost, or profit projections for
           GaN-on-SiC technology or products for 5G.
  17
           RESPONSE:
  18             In addition to the foregoing general objections, Defendants
  19       object to this Request duplicative of RFP No. 141. Defendants also
           object as overbroad and unduly burdensome in that it seeks “[a]ll
  20       documents regarding revenue, cost, or profit projections for GaN-on-
  21       SiC technology or products for 5G” because it seeks information that is
           not relevant to one or more claims of one or more of the parties or
  22
           proportional to the needs of this case. Further, Defendants object to this
  23       Request insofar as it requests documents that may contain any trade
           secret or other confidential research, development, or commercial
  24
           information of Defendants pursuant to confidentiality and non-
  25       disclosure restrictions imposed by contract or law, without a protective
           order or equivalent protections by agreement of the parties in place to
  26
           protect the confidentiality of such materials. Additionally, Defendants
  27       object to this Request to the extent it calls for information protected
           from discovery by the attorney-client privilege, the attorney work-
  28

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   1           product doctrine, and/or any other applicable privilege or immunity, or
               that is otherwise protected from disclosure.
   2
                       Based on the foregoing general and specific objections,
   3           Defendants will not produce documents in response to this request.
   4           REQUEST FOR PRODUCTION NO. 145
   5               All documents regarding revenue, cost, or profit projections for
               LDMOS technology or products for 5G.
   6
               RESPONSE:
   7
                      In addition to the foregoing general objections, Defendants
   8           object to this Request duplicative of RFP No. 142. Defendants also
               object as overbroad and unduly burdensome in that it seeks “[a]ll
   9
               documents regarding revenue, cost, or profit projections for LDMOS
  10           technology or products for 5G” because it seeks information that is
  11           not relevant to one or more claims of one or more of the parties or
               proportional to the needs of this case. Further, Defendants object to
  12           this Request insofar as it requests documents that may contain any
  13           trade secret or other confidential research, development, or
               commercial information of Defendants pursuant to confidentiality and
  14           non-disclosure restrictions imposed by contract or law, without a
  15           protective order or equivalent protections by agreement of the parties
               in place to protect the confidentiality of such materials. Additionally,
  16           Defendants object to this Request to the extent it calls for information
  17           protected from discovery by the attorney-client privilege, the
               attorney work-product doctrine, and/or any other applicable
  18           privilege or immunity, or that is otherwise protected from disclosure.
  19           Based on the foregoing general and specific objections, Defendants
               will not produce documents in response to this request.
  20
               B.    Defendants’ Factual Background
  21
               Plaintiffs bring this motion to compel responses to five sets of discovery
  22
       requests. For many of these issues, Plaintiffs ignored the Local Rules of this Court
  23
       by failing to properly meet and confer (or even attempting to meet and confer) under
  24
       Local Rule 37-1. This noncompliance alone justifies denying Plaintiffs’ motion as to
  25
       these requests. As demonstrated by Defendants’ arguments below, 7 Plaintiffs’ motion
  26
  27
          7
  28          Local Rule 37-2.1 provides that “[f]or example, if the sufficiency of an answer

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   1 should be denied in its entirety. Defendants will address Plaintiffs’ factual allegations
   2 below with the arguments.
   3 III.    LEGAL STANDARD
   4         A.    MACOM’s Statement On The Legal Standard
   5         A party may “obtain discovery regarding any nonprivileged matter that is
   6 relevant to any party's claim or defense.” Fed. R. Civ. P. 26(b)(1). Relevancy is
   7 construed broadly to encompass “any matter that bears on, or that reasonably could
   8 lead to other matter[s] that could bear on any issue that is or may be in the case.”
   9 Godinez v. Alta-Dena Certified Dairy, CV151652RSWLSSX, 2016 WL 6917270, at
  10 *1 (C.D. Cal. Jan. 22, 2016) (citation omitted). “Discovery should ordinarily be
  11 allowed under the concept of relevancy unless it is clear that the information sought
  12 can have no possible bearing upon the subject matter of this action.” Id. (citation
  13 omitted). “The party seeking production has the burden of showing relevancy, and
  14 once that burden is met, the burden shifts to the party opposing production to show
  15 that other sources exist from which the information is readily obtainable.”
  16 Rutherford v. Palo Verde Health Care Dist., EDCV1301247JAKSPX, 2014 WL
  17 12632904, at *3 (C.D. Cal. Dec. 1, 2014)
  18         B.    Defendants’ Statement On The Legal Standard
  19         “Parties may obtain discovery regarding any nonprivileged matter that is
  20 relevant to any party’s claim or defense and proportional to the needs of the case . . .”
  21 FED. R. CIV. P. 26(b)(1). “On motion or on its own, the court must limit the frequency
  22 or extent of discovery otherwise allowed by these rules or by local rule if it determines
  23
  24     to an interrogatory is in issue, the stipulation shall contain, verbatim, both the
  25     interrogatory and the allegedly insufficient answer, followed by each party’s
         contentions as to that particular interrogatory, separately stated.” L.R. 37-2.1. To
  26     comply with this provision, Defendants discuss the background contentions for
  27     each particular set of requests in each corresponding argument section, as set forth
         below. Here, Defendants discuss the factual background generally to conform to
  28     the format Plaintiffs selected in this Joint Stipulation.
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   1 that: (i) the discovery sought is unreasonably cumulative or duplicative, or can be
   2 obtained from some other source that is more convenient, less burdensome, or less
   3 expensive; (ii) the party seeking discovery has had ample opportunity to obtain the
   4 information by discovery in the action; or (iii) the proposed discovery is outside the
   5 scope permitted by Rule 26(b)(1).” FED. R. CIV. P. 26(b)(2)(C). Though relevance is
   6 a gateway concern, “discovery must be narrowly tailored and must not be a fishing
   7 expedition.” Prime Healthcare Centinela, LLC v. Kimberly-Clark Corp., CV 14-
   8 8390-DMG(PLAx), 2016 WL 7045608, at *2 (C.D. Cal. Mar. 23, 2016) (Abrams,
   9 M.J.) (quotations and alterations omitted). A court will not compel responses to
  10 requests that are “impermissibly overbroad, and if answered would produce much
  11 tangential if not irrelevant information.” Id. (quotations omitted).
  12 IV.    ARGUMENT
  13        A.    MACOM’s Argument
  14        Infineon cannot hide its reasons for acquiring IR, noninfringement theories,
  15 customer communications, and facts related to its affirmative defenses or damages
  16 from MACOM. This information is undisputedly relevant to the case, and MACOM
  17 has pursued numerous avenues to obtain this information from Infineon. Infineon
  18 should be compelled to provide it.
  19 1.     Infineon Must Provide Information About Its Valuation of IR
  20        Infineon AG’s actions in acquiring IR (now Infineon Americas), followed by
  21 Infineon AG causing Infineon Americas to avoid, terminate, misconstrue, and
  22 ignore its obligations under a series of 2010 agreements between IR and Nitronex
  23 (now MACOM), are central to MACOM’s tortious interference claim, as well as its
  24 breach of contract claims. See generally Dkt. 445. Accordingly, MACOM has
  25 sought documents regarding Infineon’s reasons for acquiring IR. Ex. 3 at Request
  26 No. 44, Ex. 20 at Request No.136. Infineon would only agree to provide any
  27 information about the acquisition if it directly refers to GaN-on-Si, however. Ex. 3
  28 at Request No. 44. Infineon has also refused to produce documents about Infineon’s

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   1 valuation of IR before the acquisition, despite serving a parallel request to MACOM
   2 for its valuation of Nitronex before it acquired it (Request No. 18 sought “All
   3 documents concerning any valuation of Nitronex, LLC before or during MACOM’s
   4 acquisition of Nitronex, LLC”).
   5        Infineon’s refusals are improper. Infineon must provide information about all
   6 the reasons it acquired IR, and cannot limit it to merely those related to GaN-on-Si.
   7 MACOM must be able to understand the full picture of the acquisition to proceed
   8 with its claims. Pappas v. Naked Juice Co. of Glendora, No. CV118276JAKPLAX,
   9 2012 WL 12885108, at *3 (C.D. Cal. Oct. 18, 2012) (holding that plaintiffs were
  10 “entitled to the full range of documents sought given their relevance to [their]
  11 claims” despite defendant’s attempt to limit the scope of plaintiffs’ requests without
  12 consent); see also Woodard v. Labrada, EDCV16189JGBSPX, 2017 WL 1018306,
  13 at *3 (C.D. Cal. Mar. 6, 2017) (“A ‘relevant matter’ under Rule 26(b)(1) is any
  14 matter that ‘bears on, or that reasonably could lead to other matters that could bear
  15 on, any issue that is or may be in the case.’”) (citation omitted). MACOM therefore
  16 requests the Court compel Infineon to produce all documents responsive to Request
  17 Nos. 44 and 136.
  18 2.     Infineon Must Provide Its Noninfringement Theories
  19        MACOM has attempted to learn Infineon’s noninfringement theories through
  20 a variety of avenues, including Interrogatories No. 12 and 13. But Infineon has
  21 refused to provide a substantive response to these interrogatories, leaving MACOM
  22 with no information as to what theories Infineon intends to advance at trial as to
  23 why it supposedly does not practice the Nitronex Patents. This is improper.
  24        A defendant must provide a plaintiff with its noninfringement contentions
  25 when requested. Halo Elecs., Inc. v. Bel Fuse Inc., C07-06222 RMW HRL, 2010
  26 WL 4586380, at *4 (N.D. Cal. Nov. 4, 2010) (granting motion to compel
  27 noninfringement contentions); Stamps.com, Inc. v. Endicia, Inc., PSI Sys. Inc., CV
  28 06-7499ODWCTX, 2009 WL 2576371, at *4 (C.D. Cal. May 21, 2009) (ordering

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   1 claim-by-claim noninfringement contention chart). Infineon cannot hide its
   2 contentions from MACOM until trial; it must share them now. This is particularly
   3 true in the light of the fact that MACOM has provided its own, detailed
   4 infringement contention charts to Infineon months ago. See Example chart in Ex. 8.
   5 “Courts have found requiring a defendant to answer a non-infringement contention
   6 interrogatory is not premature where the plaintiff has already provided its
   7 infringement contention with corresponding claim charts, which allow the defendant
   8 to respond accordingly.” Facedouble, Inc. v. Face.com, Inc., 12CV1584-DMS
   9 MDD, 2014 WL 585868, at *2 (S.D. Cal. Feb. 13, 2014).
  10         Infineon’s response to Interrogatory No. 12 contains only boilerplate
  11 objections and then denials that it practices the Nitronex Patents based on the vague
  12 statement that MACOM has not proven that it does. This is grossly insufficient
  13 under the law. See Finjan, Inc. v. ESET, LLC, 17CV183 CAB (BGS), 2018 WL
  14 1456923, at *3 (S.D. Cal. Mar. 23, 2018) (“Various jurisdictions have found that a
  15 ‘recit[ation of the] various claim terms and ... unexplained denials of infringement’
  16 is not a sufficient response to a non-infringement contention.”).
  17         Likewise, Infineon improperly refuses to respond to Interrogatory No. 13,
  18 which seeks an explanation of any denials of RFAs. Infineon’s suggestion in
  19 previous briefing that this interrogatory is per se prohibited or exceeds the limits for
  20 interrogatories is wrong. Courts have expressly approved of MACOM’s style of
  21 combining of noninfringement contention RFAs with a follow-up interrogatory for
  22 an explanation of any denials. See B. Braun Med. Inc. v. Abbott Laboratories, 155
  23 F.R.D. 525, 528 (E.D. Pa. 1994) (explaining that interrogatories seeking the basis
  24 for denials of patent element RFAs “must be answered”).
  25         Furthermore, Infineon previously argued to the Court in the context of
  26 Infineon’s motion to quash MACOM’s RFAs that there is a per se ban on such
  27 interrogatories, citing Safeco of America v. Rawstron, 181 F.R.D. 441 (C.D. Cal.
  28 1998). There is no such ban, however, and courts applying Safeco have concluded

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   1 that “an interrogatory that requests ‘all facts’ in support of a refusal to admit specific
   2 relevant facts is not burdensome and oppressive per se.” Chapman v. California
   3 Dep’t of Educ., No. C-01-1780 CRB (EMC), 2002 WL 32854376, at *2 (N.D. Cal.
   4 Feb. 6, 2002). Such interrogatories “may facilitate development of the case.” Id.
   5 Moreover, Safeco did not involve any patent claims (it was an insurance fraud case),
   6 and courts have recognized that “[p]atent cases present unique challenges with
   7 respect to the application of Rule 33’s numerical limitation in interrogatories.”
   8 Synopsys, Inc. v. ATopTech, Inc, 319 F.R.D. 293, 294 (N.D. Cal. 2016). Where
   9 products or patents-in-suit “cover similar technology” and the products infringe in
  10 “substantially similar ways” each interrogatory is not counted separately. Id.
  11         MACOM is entitled to discovery on Infineon’s noninfringement positions.
  12 See, e.g., Stamps.com, Inc. v. Endicia, Inc., PSI Sys. Inc., CV 06-7499ODWCTX,
  13 2009 WL 2576371, at *4 (C.D. Cal. May 21, 2009) (ordering Defendant to provide
  14 the requested noninfringement claim chart showing, on a claim-by-claim basis, why
  15 the accused products do not infringe the patents-in-suit). Infineon can provide the
  16 requested information through its response to Interrogatory No. 12 or through its
  17 response to Interrogatory No. 13, but Infineon should be compelled to provide a
  18 substantive response to one or the other so that MACOM is on notice of Infineon’s
  19 “noninfringement” theories before trial.
  20         In the alternative, Infineon should be limited at trial to only the positions that
  21 it has already taken in response to Interrogatory No. 12 (i.e., failure of proof), since
  22 it has failed to disclose any other contentions. In re Katz Interactive Call
  23 Processing Pat. Litig., No. 07-ML-01816-RGK FFMX, 2011 WL 8472388, at *2
  24 (C.D. Cal. Jan. 14, 2011) (striking noninfringement argument from summary
  25 judgment briefing that was not included in noninfringement contentions); see also
  26 Multimedia Pat. Tr. v. DirecTV, Inc., No. 09-CV-278-H (CAB), 2011 WL
  27 13100719, at *3 (S.D. Cal. Mar. 4, 2011) (granting default judgment due to failure
  28

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   1 to substantiate its denial of infringement in response to noninfringement contention
   2 interrogatories).
   3 3.     Infineon’s Customer Communications Are Indisputably Relevant, But It
   4        Has Not Conducted A Reasonable Search For Them
   5        As described above, this case is somewhat unique in that there are only four
   6 or five major customers whose communications are relevant. There can be no
   7 dispute that Infineon’s communications with basestation customers are highly
   8 relevant, and indeed central, to this case, given that Infineon is alleged to have
   9 breached its promises regarding marketing of products, and given that Infineon has
  10 denied any marketing activities—even going so far as to claim that talking to
  11 customers about future products is not “marketing.” See Dkt. 363-1 at 1
  12 (“technology discussions are not ‘marketing’ of GaN-Si RF products”), 5 (“Infineon
  13 AG and its affiliates informed customers of their future technology plans, but those
  14 discussions differ from marketing of products”); 8 (“Ericsson AFE discussions
  15 involved a joint development proposal—not marketing of products”).
  16        Infineon not only agreed to produce these communications in its discovery
  17 responses, but expressly assured MACOM’s counsel that it would be producing
  18 such communications. See Ex. 4. Nevertheless, Infineon’s production is plainly
  19 deficient. It has only produced 306 emails with customers. Banzhoff Decl. ¶25.
  20 Indeed, Infineon produced only eight emails with ZTE, thirteen emails with Huawei,
  21 and fifty-one emails with Nokia. Id. These low numbers makes clear that Infineon
  22 did not adequately search for these communications, particularly given the context
  23 of basestation RF power products. These products are not “off the shelf” products.
  24 They require extensive “discussion with the customer as to their application.” Ex. 6,
  25 Ward Tr. at 92:18-93:12.
  26      These customers are located across the world. See Ex. 7, Hugo Tr. at 22:18-
  27 29:25. Infineon employs an account manager for each region that is responsible for
  28 each customer in each region. Id. at 22:18-24. Infineon failed to conduct searches

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   1 of the emails account managers for the majority of its basestation customers.
   2 Compare Ex. 7, Hugo Tr. at 22:18-29:25 (identifying account managers for
   3 basestation customers including
   4                                                                  with Banzhoff Decl.
   5 ¶24.
   6        Further, Infineon cannot take the position that it did not produce its customer
   7 communications because they were in the possession of Infineon affiliates, rather
   8 than the Infineon entities named as defendants in this case. MACOM expressly
   9 raised the issue of whether Infineon would be producing documents from its
  10 affiliates. See Ex. 16, 22. The parties conferred on this issue, and Infineon agreed it
  11 would not withhold documents on the basis that there were affiliate
  12 communications. See Ex. 13, Ex. 23 at ¶2.
  13        In short, there is no excuse for the grossly insufficient collection efforts that
  14 Infineon has undertaken with respect to one of the central issues in the case.
  15 Infineon should be compelled to conduct a reasonable search and produce its
  16 communications with basestation customers, including those responsive to Request
  17 Nos. 16, 19, 20, 21, and 83.
  18 4.     Infineon Must Produce Documents Regarding Its Affirmative Defenses
  19        As described above, in addition to an affirmative defense of noninfringement,
  20 Infineon has raised numerous other affirmative defenses. Dkt. 291 and 323-1.
  21 MACOM appropriately sought discovery on each of these affirmative defenses, but
  22 Infineon has refused to produce any documents in response to these requests. Ex.
  23 21 at Request No. 88, Ex. 14 at Request Nos. 104-118. This is improper.
  24        A party must produce documents regarding its defenses (i.e., both those that
  25 support it and those that refute it), and courts regularly grant motions to compel
  26 such documents. Local.com Corp. v. Fry's Elecs., Inc., No.
  27 SACV120976JGBJPRX, 2013 WL 12139096, at *3 (C.D. Cal. Feb. 22, 2013)
  28 (granting motion to compel production of documents relevant to its defenses and

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   1 counterclaims as such requests are “consistent with Rule 11 of the Federal Rules of
   2 Civil Procedure, which requires parties [to] have some factual basis for their claims
   3 and allegations”) (citing Nat’l Acad. Of Recording Arts & Scis., Inc. v. On Point
   4 Events, LP, 256 F.R.D. 678, 682 (C.D. Cal. 2009)); Garza v. Brinderson
   5 Constructors, Inc., No. 15CV05742EJDSVK, 2017 WL 2861128, at *2 (N.D. Cal.
   6 July 5, 2017) (ordering the production of all non-privileged documents “that relate[]
   7 to [defendants’] allegations and defenses” in the action at issue); Koninklijke Philips
   8 Elecs. N.V. v. KXD Tech., Inc., No. 2:05CV01532RLH-GWF, 2007 WL 778153, at
   9 *5-6 (D. Nev. Mar. 12, 2007) (granting motion to compel production of documents
  10 that defendants may use in support of their denials and affirmative defenses).
  11 MACOM accordingly requests that the Court compel Infineon to produce
  12 documents responsive to Request Nos. 88 and 104-118.
  13 5.      Infineon Must Respond To Requests For GaN-on-SiC And LDMOS
             Documents
  14
             As described above, Infineon’s GaN-on-SiC and LDMOS business is
  15
       relevant to MACOM’s breach of contract claims, and particularly to damages.
  16
       GaN-on-Si, GaN-on-SiC, and LDMOS are three competing technologies that
  17
       Infineon has marketed to basestation customers. Infineon’s breaches of its
  18
       agreements with MACOM have improperly prolonged sales for GaN-on-SiC and
  19
       LDMOS products (by Infineon and others) as they have diverted sales from GaN-
  20
       on-Si. As described in MACOM’s response to Infineon’s damages contention
  21
       interrogatory, MACOM will be relying on Infineon’s improperly prolonged sales
  22
       of LDMOS and GaN-on-SiC in connection with its damages case. See Ex. 19.
  23
             MACOM is therefore entitled to basic sales, projection, strategy, and pricing
  24
       documents from Infineon regarding these technologies. Infineon has refused to
  25
       produce any information related to GaN-on-SiC and LDMOS on the basis that it
  26
       does not believe this information is relevant. See Ex. 15. This argument cannot
  27
       stand in light of MACOM’s plain reliance on this information in its damages case.
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   1 Infineon should therefore be compelled to produce documents responsive to Request
   2 Nos. 125-127, 137-38, 141-42, and 144-45, including those relating to GaN-on-SiC
   3 and LDMOS.
   4          B.     Defendants’ Argument
   5                 1.        Plaintiffs are not entitled to all documents relating to the IR
                               acquisition (RFPs 44 and 136).
   6
              Plaintiffs’ RFP No. 44 seeks ALL documents relating to the IR acquisition.
   7
       See RFP 44 (“All documents relating to Infineon’s acquisition of International
   8
       Rectifier . . . .”).     This request is overly broad, unduly burdensome, and not
   9
       proportional to the needs of the case. There is no claim that the acquisition of
  10
       International Rectifier was a breach of any agreement at issue or that the acquisition
  11
       itself constituted tortious interference. There can be no serious dispute that the
  12
       overwhelming proportion of the documents relating to the IR acquisition have
  13
       absolutely nothing to do with this lawsuit. IR’s predominant business was power
  14
       management, which is unrelated to the RF business at issue in this lawsuit. The IR
  15
       acquisition was an enormous corporate acquisition—involving products, business
  16
       lines, manufacturing facilities, technology, and intellectual property completely
  17
       unrelated to the technology and patents at issue in this case. To give the Court some
  18
       perspective, Infineon AG acquired IR for $3 billion—that is
  19
                              that IR paid Nitronex for the patents at issue in this lawsuit. See
  20
       Ex. A, Hack and Sheahan, “Inﬁneon agrees to buy Int’l Rectiﬁer for $3 billion in
  21
       cash,” Reuters, August 20, 2014. Based on these figures, the technology, patents, and
  22
       agreements at issue was less than             of the IR acquisition. Plaintiffs’ request for
  23
       ALL documents relating to the IR acquisition, on its face, is ridiculous.
  24
              Defendants agreed to produce those documents that may be relevant to
  25
       Plaintiffs’ purported justification for requesting the IR acquisition documents.
  26
       Plaintiffs’ only justification for seeking these documents is their speculation that
  27
       Defendants acquired IR for the GaN-on-Si technology and intellectual property at
  28

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   1 issue in this lawsuit. 8 Plaintiffs’ argument that the          Nitronex patents at issue
   2 drove a $3 billion corporate acquisition strains credulity. Nevertheless, Defendants
   3 have agreed to produce those documents that may be relevant to Plaintiffs’ dubious
   4 claim. Defendants have agreed to produce IR acquisition documents relating to the
   5 technology, patents, and agreements at issue (i.e., GaN-on-Si technology, Nitronex,
   6 the Nitronex Patents, the 2004 License Agreement, the 2010 IP Purchase Agreement,
   7 or the 2010 License Agreement). Defendants properly narrowed Plaintiffs’ overbroad
   8 request for all IR acquisition documents to those documents that are proportional to
   9 Plaintiffs’ purported justification for their request. Plaintiffs never have provided any
  10 justification for further acquisition-related documents.       See McKechnie Vehicle
  11 Components, USA, Inc. v. Lacks Indus., Inc., 09-11594, 2010 WL 11544995, at *5
  12 (E.D. Mich. Dec. 14, 2010) (The court denied defendants’ motion to compel diligence
  13 documents from the acquisition, acquisition documents relating to another patent, and
  14 all acquisition documents relating to defendants because “[p]laintiff has already
  15 produced the documents from the 2008 acquisition that relate to the patents-in-suit or
  16 the [accused product] and has produced the purchase agreement . . . [so, there is no]
  17 reasonable basis for the Court to conclude that delving further into the acquisition-
  18 related documents was necessary or appropriate in this case.”)
  19         Plaintiffs provide no explanation as to why the scope of Defendants’ production
  20 is insufficient—an explanation that Plaintiffs should have included in their portion of
  21 this Joint Stipulation. 9     Plaintiffs provide no justification for seeking all IR
  22 acquisition documents—including those unrelated to the technology, patents, and
  23
  24
       8
       Plaintiffs point to Infineon AG’s assertion of financial interest privilege but provide
  25
     no explanation of why that privilege entitles Plaintiffs to any documents relating to
  26 the IR acquisition, much less all IR acquisition documents.
       9
  27  The Court should reject any attempt by Plaintiffs to provide this explanation in their
     supplemental briefing so as to prevent Defendants from providing a substantive
  28 response.

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   1 agreements at issue in this lawsuit. Plaintiffs’ attempt to force Defendants to collect
   2 and produce all documents relating to the $3 billion acquisition of entire corporation
   3 (IR) is just a fishing expedition designed to create undue burden without any
   4 proportionality to the alleged relevance of the information.
   5        Plaintiffs’ inclusion of RFP No. 136 does not change the analysis. Plaintiffs’
   6 Request for Production No. 136 seeks valuations of International Rectifier prior to the
   7 acquisition. It is duplicative of Request for Production No. 44, which requests all
   8 documents relating to the acquisition. Accordingly, Defendants objected to Request
   9 No. 136 as duplicative and pointed Plaintiffs to Request for Production No. 44, where
  10 Defendants had already agreed to produce responsive documents that relate to GaN-
  11 Si technology, Nitronex, the Nitronex Patents, and the agreements. Thus, Defendants
  12 agreed to produce valuations to the extent that those valuations relate to the GaN-Si
  13 technology, the patent, and the agreements at issue in this lawsuit (i.e., GaN-Si
  14 technology, Nitronex, the Nitronex Patents, the 2004 License Agreement, the 2010 IP
  15 Purchase Agreement, or the 2010 License Agreement). During the meet and confer
  16 process, Defendants reiterated that Request for Production 136 was encompassed by
  17 Request for Production No. 44. There is no need to compel Defendants to produce
  18 documents on duplicative requests. Carson Cheng v. AIM Sports, Inc., CV 10-3814-
  19 PSG(PLAx), 2011 WL 13176752, at *3 (C.D. Cal. Jan. 18, 2011) (Abrams, M.J.)
  20 (“The Court agrees with plaintiffs that the documents requested in Requests for
  21 Production Nos. 4–6 and 22 appear to be duplicative of the documents requested in
  22 Requests for Production Nos. 7–11, 16–20, 23–24, 27–34, 54–55, and 67–83.
  23 Accordingly, plaintiffs’ agreement to produce documents responsive to Requests for
  24 Production Nos. 7–11, 16–20, 23–24, 27–34, 54–55, and 67–83 is deemed sufficiently
  25 responsive.” The motion to compel was thus denied.). The Court should deny
  26 Plaintiffs’ Motion.
  27
  28

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   1                2.    Plaintiffs fail to show that they are entitled to any relief with
                          respect to Interrogatory Nos. 12 and 13 regarding non-
   2                      infringement.
   3         Plaintiffs insist on ignoring not only the Court’s specific limit of 25
   4 interrogatories but also the Local Rules of the Court requiring them to confer in good
   5 faith prior to filing a motion to compel. Plaintiffs never requested a conference on
   6 Defendants’ responses to Interrogatories Nos. 12 and 13. This failure is sufficient to
   7 deny their motion to compel.          In addition, contrary to Plaintiffs’ allegations,
   8 Defendants responded to Interrogatory No. 12 with their non-infringement
   9 contentions, including detailed claim charts.         In fact, Defendants’ response to
  10 Interrogatory No. 12 was so lengthy that Plaintiffs excluded it from this stipulation—
  11 again sidestepping the Court’s Local Rules. L.R. 37-2.1. But Plaintiffs most notably
  12 fail to identify the specific additional information that they are seeking. Interrogatory
  13 No. 13 is improper because it counts as 176 interrogatories, far in excess of the Court’s
  14 25-interrogatory limit. Defendants objected and invited Plaintiffs to select which of
  15 176 requests for admission they wish to apply toward their interrogatory limit of 25.
  16 After Defendants receive Plaintiffs’ selection, Defendants will provide a response to
  17 Interrogatory No. 13.
  18                      a)     Plaintiffs failed to meet and confer on Defendants’
                                 responses to Interrogatory Nos. 12 and 13, as required
  19                             under the Local Rules.
  20         As a preliminary matter, Plaintiffs have not satisfied the requirements to bring
  21 a motion to compel concerning Interrogatory Nos. 12 and 13. L.R. 37-1 (“Prior to the
  22 filing of any motion relating to discovery pursuant to F.R.Civ.P 26-37, counsel for
  23 the parties shall confer . . . It shall be the responsibility of counsel for the moving
  24 party to arrange for this conference.”). The rules of this Court specifically require
  25 Plaintiffs to request a conference and send a letter that “shall identify each issue and/or
  26 discovery request in dispute, shall state briefly with respect to each such issue/request
  27 the moving party’s position (and provide any legal authority which the moving party
  28 believes is dispositive of the dispute as to that issue/request), and specify the terms of

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   1 the discovery order to be sought.” Id. Plaintiffs have not done so.
   2        Plaintiffs served Interrogatory No. 12 on February 20, 2018, and two days later,
   3 on February 22, 2018, Plaintiffs served Requests for Admission 3 through 181 and
   4 Interrogatory No. 13.
   5        On February 28, 2018, before Defendants had even served their responses to
   6 Interrogatory Nos. 12 and 13, Defendants asked to meet and confer regarding the
   7 number of admission requests served by Plaintiffs. The parties eventually filed a joint
   8 stipulation, in which Defendants asked the Court to impose a limit on the number of
   9 requests for admission. Dkt. 475-2. In that joint stipulation, Plaintiffs sought to
  10 excuse their 181 requests for admission by blaming Defendants’ response to
  11 Interrogatory No. 12.      In Defendants’ supplemental memorandum, Defendants
  12 pointed out repeatedly that Plaintiffs never even requested a meet and confer on
  13 Interrogatory Nos. 12 and 13:
  14      • “Moreover, since Defendants served their response to Interrogatory No. 12,
  15        Plaintiffs have not asked for a meet and confer on Interrogatory No. 12[.]”
            Dkt. 479 at 4:24–5:1; see also id. 1:21–22.
  16
         • “Similarly, given that the parties have not yet met and conferred as to
  17       Interrogatory Nos. 12 and 13, Plaintiffs’ demands relating to those
  18       interrogatories (including a demand that Defendants be required to respond to
           the interrogatories or be limited to only certain non-infringement arguments at
  19       trial) are not properly before the Court. The Local Rules set out the procedures
  20       required to file a motion directed at interrogatory responses. Plaintiffs should
           not be permitted to simply transform Defendants’ motion to set limits on
  21
           admission requests into their own motion to compel interrogatory responses.”
  22       Id. at 5:14–22.
  23 In its order on that joint stipulation, the Court did not impose a limit on the number
  24 of requests for admissions. But, as relates to the parties’ current dispute, the Court
  25 also did not take up Plaintiffs’ demands relating to Interrogatory Nos. 12 and 13.
  26        Following Defendants’ service of their response to Interrogatory No. 12 on
  27 March 22, 2018, the parties met and conferred at least seven times on various
  28 discovery disputes (March 26, April 5, April 9, April 11, May 14, May 15, and May

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   1 18). Not once during those seven phone calls, did Plaintiffs request to meet and confer
   2 on Interrogatory Nos. 12 and 13. After Defendants pointed out Plaintiffs’ failure to
   3 meet and confer on Interrogatory Nos. 12 and 13 in the April 25th Memorandum
   4 quoted above, the parties had at least three subsequent phone calls regarding discovery
   5 issues, but Plaintiffs still never requested to meet and confer regarding Interrogatory
   6 Nos. 12 and 13.
   7         Thus, Defendants were surprised that Plaintiffs included Defendants’ response
   8 to Interrogatory Nos. 12 and 13 in their Joint Stipulation. In Plaintiffs’ portion of the
   9 joint stipulation, Plaintiffs assert that the parties met and conferred with respect to the
  10 other disputed issues. See supra p. 7 (citing Exs. 16 and 17 for meet and confer about
  11 issue no. 1, the IR acquisition); p. 13 (citing Ex. 5 for a meet and confer about issue
  12 no. 3, customer communications); p. 19 (citing Exs. 12 and 13 regarding a meet and
  13 confer on issue no. 4, affirmative defense). In stark contrast, Plaintiffs did not even
  14 assert that the parties met and conferred on Interrogatory Nos. 12 and 13, and even
  15 though the parties exchanged emails summarizing the content of their meet-and-
  16 confer telephone calls, Plaintiffs do not cite to any email summarizing a meet and
  17 confer regarding Defendants’ responses to Interrogatory Nos. 12 and 13.
  18         Defendants wrote to Plaintiffs’ counsel about their failure to meet and confer.
  19 Ex. B, Plaintiffs’ Meet and Confer Failures email chain between Johnston and
  20 Banzhoff, at May 31, 2018 2:45 PM email from Johnston to Banzhoff. Plaintiffs
  21 refused to identify any date and supporting material for any alleged meet and confer.
  22 Plaintiffs simply pointed out that the issue was previously discussed “in the Infineon
  23 motion on the RFAs that has already been briefed to the Court.” Id. at May 31, 2018
  24 8:20 PM email from Banzhoff to Johnston. But that motion was not a meet and
  25 confer. Moreover, in that motion, Defendants had pointed out Plaintiffs failed to meet
  26 and confer.
  27         Although Defendants’ briefing put Plaintiffs on notice they had not yet met the
  28 Court’s meet-and-confer requirement, Plaintiffs chose to ignore their duty to request

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   1 a meet and confer and to try to resolve the dispute before burdening the Court with
   2 this motion. Plaintiffs’ complaints regarding Interrogatories Nos. 12 and 13 are not
   3 properly before the Court and Plaintiffs’ motion should be denied on this basis alone.
   4 Rutherford v. PaloVerde Health Care Dist., EDCV 13-1247-JAK(SPx), 2014 WL
   5 12633523, at *5 (C.D. Cal. Apr. 25, 2014) (“The record clearly reflects the parties
   6 made no genuine meet and confer efforts with respect to these requests. Indeed, these
   7 requests were not even mentioned in the parties’ correspondence after plaintiffs
   8 served their amended responses, unless one counts defendants’ reference to an earlier
   9 letter . . . Accordingly, as to these requests, defendants’ Motion to Compel is denied
  10 without prejudice to defendants renewing their motion after counsel have made a
  11 genuine effort to meet and confer.”); Semiconductor Energy Lab. Co. v. Chimei
  12 Innolux Corp., SACV 12-0021-JST(JPRx), 2012 WL 12896204, at *1 (C.D. Cal. Oct.
  13 17, 2012) (“Accordingly, Plaintiff’s motion to compel is DENIED as to Requests Nos.
  14 1-13, 15-26, 28-31, 36-37, 39-40, 42-45, 47-51, 54-55, 58, 63, and 66 because
  15 Plaintiff has failed to comply with the meet-and-confer requirements of Local Rule
  16 37-1.”); Sherman v. CLP Res., Inc., CV 12-8080-GW(PLAx), 2015 WL 13543541, at
  17 *6 (C.D. Cal. July 17, 2015) (“[N]or do the meet and confer documents submitted
  18 with regard to the October 23, 2014, Requests and the January 20, 2015, Amended
  19 Requests at issue herein include these issues. Accordingly, the Court agrees with
  20 defendant that this issue is beyond the scope of this Motion.”).
  21        Plaintiffs should be sanctioned for their deliberate failure to meet and confer.
  22 L.R. 37-4 (“The failure of any counsel to comply with or cooperate in the foregoing
  23 procedures may result in the imposition of sanctions.”); Sky Billiards, Inc. v. SIF
  24 Servs., LLC, EDCV 14-2293-JGB(SPx), 2015 WL 12656922, at *3 (C.D. Cal. Oct.
  25 16, 2015) (sanctioning plaintiff for failing to comply with the Local Rules’ meet and
  26 confer requirements by not responding to defendant’s letter request for a meet and
  27 confer); Judge’s Procedures and Schedules for the Honorable Paul L. Abrams,
  28 available     at   https://www.cacd.uscourts.gov/honorable-paul-l-abrams       (“Strict

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   1 compliance with Local Rule 37 is required.”). Plaintiffs offer no explanation for their
   2 failure to meet and confer, and their portion of this Joint Stipulation contains no
   3 evidence that such a meet and confer actually occurred. Had Plaintiffs complied with
   4 their meet-and-confer obligations, the parties may have avoided these disputes
   5 entirely. Instead, Plaintiffs preemptively brought their complaints to the Court. The
   6 Local Rules do not contemplate or permit this procedure, which resulted in
   7 Defendants preparing lengthy briefing in response. As a result, Plaintiffs should be
   8 sanctioned by reimbursing Defendants for their fees and costs in preparing this Joint
   9 Stipulation.
  10                      b)    Defendants have answered Interrogatory No. 12, and
                                Plaintiffs have failed to specify what additional
  11                            information Plaintiffs are seeking.
  12        Plaintiffs assert that “Infineon has refused to provide a substantive response to
  13 these interrogatories, leaving [Plaintiffs] with no information as to what theories
  14 Infineon intends to advance at trial as to why it supposedly does not practice the
  15 Nitronex Patents.” This is plainly false.
  16       Plaintiffs try to get away with this false assertion by excluding Defendants’
  17 complete interrogatory response in violation of the Local Rules. Defendants’
  18 response begins by providing three pages of non-infringement defenses that apply
  19 across all claims:
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   1
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   3
             In addition, for each of the asserted claims, Defendants provide a claim chart
   4
       identifying the specific claim limitations that are missing from Plaintiffs’
   5
       infringement claim charts. Ex. 9, Defendants’ Response to MACOM’s Interrogatory
   6
       No. 12, at 4–36. The claim charts do not identify non-infringement arguments for all
   7
       claim elements.     For example, Defendants did not provide any separate non-
   8
       infringement position for the term “substrate.” Nevertheless, Plaintiffs complain that
   9
       Defendants have identified non-infringement positions for too many of the claim
  10
       elements.    The large number of non-infringement positions, however, simply
  11
       demonstrates that the asserted claims and Plaintiffs’ infringement contentions are
  12
       deeply flawed.
  13
               In view of the three-page narrative and the nearly 30 pages of claims charts,
  14
       Plaintiffs cannot credibly state that they have “no information” regarding Defendants’
  15
       noninfringement theories.
  16
             Plaintiffs fail to specify what specific additional information they are seeking.
  17
       The Court should reject any attempt by Plaintiffs to include with their supplemental
  18
       brief such a request for specific information. Plaintiffs should have first raised any
  19
       requests for specific information in a meet and confer.            If they had done so,
  20
       Defendants could have considered those requests. Because there was no meet and
  21
       confer, Defendants are at a total loss for what additional information Plaintiffs are
  22
       seeking. Even in this Joint Stipulation, Plaintiffs fail to identify the specific additional
  23
       information that they are seeking. By waiting until their supplemental brief to make
  24
       such a request, Plaintiffs are seeking to prevent Defendants from providing a
  25
       substantive response. The Court should reject such gamesmanship.
  26
             Because Defendants have provided a response to Interrogatory No. 12 and
  27
       Plaintiffs failed to identify what specific additional information Plaintiffs are seeking,
  28

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   1 Plaintiffs’ motion should be denied with respect to Interrogatory No. 12.
   2                       c)    Defendants are willing to respond to Interrogatory No.
                                 13 but only to the extent that Plaintiffs identify specific
   3                             Requests for Admission to stay within the Court’s 25-
                                 interrogatory limit.
   4
             Through Interrogatory No. 13, Plaintiffs actually seek to compel Defendants to
   5
       answer 176 interrogatories. Defendants have never stated, as Plaintiffs argue, that
   6
       Plaintiffs’ Interrogatory No. 13 is banned per se. Instead, Defendants object because
   7
       Plaintiffs’ Interrogatory No. 13 is an attempt to sidestep the Court’s express ruling
   8
       limiting the number of interrogatories to 25.
   9
             Interrogatory No. 13 asks to “explain why, including an identification of which
  10
       particular element(s) you do not believe the identified product practices, and all
  11
       factual and legal bases for that belief” for 176 separate Requests for Admission. This
  12
       transforms each of those 176 Requests for Admission into a separate interrogatory.
  13
       Safeco of America v. Rawstron, 181 F.R.D. 441, 445 (C.D. Cal. 1998) (“Allowing
  14
       service of an interrogatory which requests disclosure of all of the information on
  15
       which the denials of each of 50 requests for admissions were based, however,
  16
       essentially transforms each request for admission into an interrogatory.”); see also
  17
       Scott v. Keller, No. 2:07-cv-00184, 2010 WL 1267772, at *3–4 (E.D. Cal. March 21,
  18
       2010) (“Interrogatory No. 1 states ‘if your response to request for admission no. 1, 6-
  19
       10, set one is anything other than an unequivocal admission, state all facts upon which
  20
       your response is based.’ . . . This is actually six interrogatories because it requests
  21
       information based upon six different requests for admissions. Thus, Plaintiff has
  22
       exceeded the limit of twenty-five interrogatories.”). This practice “circumvent[s] the
  23
       numerical limit contained in Rule 33(a) . . . [and] [u]tilizing interrogatories disguised
  24
       as requests for admission in an attempt to circumvent a local rule limiting the number
  25
       of interrogatories is an abuse of the discovery process.” Safeco of America, 181
  26
       F.R.D. at 445–46 (quoting In re Olympia Holding Corp., 189 B.R. 846, 853 (Bankr.
  27
       M.D. Fla. 1995)).
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   1         The cases Plaintiffs cite do not contradict that there are as many interrogatories
   2 as there are requests for admission. The court in Chapman v. Cal. Dep’t of Educ.
   3 followed Safeco’s rule that “an interrogatory asking for the basis for denial of any
   4 requests for admission is treated as many interrogatories as there are requests for
   5 admission.” No. C-01-2780 CRB (EMC), 2002 WL 32854376, at *2 (N.D. Cal. Feb.
   6 6, 2002) (citations omitted). Plaintiffs’ main support, B. Braun Med. Inc. v. Abbott
   7 Labs., did not deal with how to count interrogatories asking for the basis for denial,
   8 but with whether those interrogatories should be answered. 155 F.R.D. 525, 528 (E.D.
   9 Pa. 1994). Finally, Synonpsys, Inc. v. ATopTech, Inc does not address interrogatories
  10 asking for the basis of a denial of requests for admission. 319 F.R.D. 293 (N.D. Cal.
  11 2016). Thus this case does not speak to the issue here.
  12         Plaintiffs’ attempt to force Defendants to answer 176 interrogatories disguised
  13 as one interrogatory is a clear abuse of discovery. Defendants are willing to respond
  14 to interrogatories seeking the basis of their denial of Plaintiffs’ Request for
  15 Admission, up to the limit on interrogatories set by the Court. Rather than choosing
  16 for Plaintiffs which requests for admission to apply toward Plaintiffs’ 25 interrogatory
  17 limit, Defendants have left this decision to Plaintiffs. Defendants invited Plaintiffs to
  18 identify the Requests for Admissions for which Plaintiffs want an answer. Because
  19 Plaintiffs never requested a meet and confer, Plaintiffs never provided any an answer
  20 to Defendants’ inquiry. Any delay is only attributable to Plaintiffs’ preferred tactic
  21 of compelling discovery rather than conferring with opposing counsel. Plaintiffs’
  22 motion should be denied.
  23               3.     Plaintiffs’ complaints about Defendants’ production of
                          customer communications (RFPs 16, 19, 20, 21 and 83) were
  24                      never raised during any meet and confer and are not properly
                          before the Court.
  25
  26               Plaintiffs seek to compel production of communications with customers

  27 regarding GaN-on-Si RF technology and seek an order requiring Defendants to
  28 provide a detailed description of their search strategy. Plaintiffs complaint is not that

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   1 Defendants refused to produce documents. Indeed, as Plaintiffs admit, Defendants
   2 agreed to produce these documents. Rather, Plaintiffs raise various complaints about
   3 Defendants’ search strategy, such as particular persons whose documents should be
   4 searched and particular search keywords.
   5        Astonishingly, Plaintiffs never raised any of these complaints with Defendants
   6 before bringing them to the Court. Until Plaintiffs served the joint stipulation,
   7 Defendants had no idea that Plaintiffs were even considering filing a motion on these
   8 requests. On the contrary, the very last communication from Plaintiffs on the issue
   9 occurred about three months ago and stated that Plaintiffs would not be moving to
  10 compel on these requests.
  11        Defendants have put a great deal of time and effort into collecting and
  12 producing documents in response to Plaintiffs’ requests. Defendants have collected
  13 documents from at least 28 individuals and have produced over 50,000 documents
  14 totaling around 500,000 pages. This is more than twice the number of documents and
  15 individual custodians in Plaintiffs’ production (around 24,000 documents from 13
  16 identified individual custodians). And Defendants’ documents have indisputably
  17 included communications with customers about GaN-on-Si technology. That there
  18 were not as many of these communications as Plaintiffs hoped is no justification to
  19 bypass the conference requirements of the Local Rules. Had Plaintiffs bothered to
  20 discuss their concerns with Defendants before filing a motion, the parties likely could
  21 have worked out a resolution or at least narrowed the dispute. After learning of
  22 Plaintiffs’ complaints via the joint stipulation, Defendants requested that Plaintiffs
  23 withdraw this aspect of their motion in favor of meaningful participation in a meet
  24 and confer, but Plaintiffs refused. The Court should likewise refuse to entertain
  25 Plaintiffs’ motion and instead order Plaintiffs to confer with Defendants before filing
  26 discovery motions, just as Local Rule 37 requires. Defendants further request that
  27 Plaintiffs be sanctioned for charging ahead with motion practice without even
  28 attempting to comply with the conference requirement, wasting the Court’s time and

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   1 generating attorney fees on unnecessary briefing.
   2                     a.     Background
   3        Defendants’ responses to the requests at issue indicate that they will produce
   4 non-privileged communications with customers regarding GaN-on-Si RF technology,
   5 wafers, or products located after a reasonable search. After Defendants served their
   6 responses, the parties met and conferred exactly once on these requests on March 5,
   7 2018. During that conference, the sole topic of discussion as to these requests was
   8 whether Defendants intended to search for and produce GaN-on-Si RF customer
   9 communications. Defendants confirmed that they would do so, just as indicated in
  10 the written responses. Plaintiffs made no suggestion as to particular custodians or
  11 search terms. Indeed, there was no discussion whatsoever regarding the specifics of
  12 the search parameters Defendants would or should use. In a follow-up e-mail,
  13 Plaintiffs confirmed that, based on the discussion during the meet and confer, they
  14 would not be moving to compel production of GaN-on-Si RF customer
  15 communications. Ex. C, March 5, 2018 Meet and Confer email chain between
  16 Caballero and Banzhoff, at March 14, 2018 7:57 PM email from Banzhoff to
  17 Caballero. At the time of the March 5 conference, the deadline for substantial
  18 completion of document production was still several weeks away. Plaintiffs never
  19 discussed these requests with Defendants again or communicated that their position
  20 had changed. Defendants assumed that Plaintiffs had reviewed the documents and
  21 were satisfied with the production. Defendants thus considered the matter closed.
  22        Defendants were therefore extremely surprised to receive a joint stipulation in
  23 which Plaintiffs moved to compel documents on these requests. The motion’s host
  24 of complaints about the adequacy of Defendants’ search, including the identification
  25 of specific custodians and search terms Plaintiffs believed should have been included,
  26 had never before been raised. Not in the March 5 meet and confer, and not even in a
  27 follow-up e-mail. Because Plaintiffs elected to skip the conference requirements of
  28 Local Rule 37 and proceed directly to a motion, the parties never had the opportunity

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   1 to attempt to resolve or narrow the dispute (the existence of which was entirely
   2 unknown to Defendants prior to receipt of this motion).
   3         Defendants were even more surprised that part of the relief requested was an
   4 order requiring Defendants to provide a detailed explanation of their search strategy
   5 for these requests. Neither during the March 5 meet and confer nor at any time since
   6 have Plaintiffs ever indicated any interest in discussing Defendants’ search strategy.
   7 On the contrary, during meet and confers on Defendants’ requests, Plaintiffs have
   8 actively resisted discussing such information. On May 14—the week before Plaintiffs
   9 served this joint stipulation—the parties had a conference in which Defendants raised
  10 concerns about Plaintiffs’ responses to RFPs 214 and 215, which sought documents
  11 relating to the transfer of technical information between Nitronex and IR and
  12 identified specific individuals at Nitronex likely to have participated in such
  13 discussions.    Ex. B, Plaintiffs’ Meet and Confer Failures email chain between
  14 Johnston and Banzhoff, at May 31, 2018 2:45 PM email from Johnston to Banzhoff.
  15 In discussing RFPs 214 and 215, Plaintiffs’ counsel expressed an unwillingness to
  16 discuss the parameters of Plaintiffs’ search relating to the requests and appeared to
  17 take the position that such information was privileged. Id. Among other things,
  18 Plaintiffs did not state one way or the other whether they had collected documents
  19 from any of the individuals identified in the request. Plaintiffs’ counsel suggested
  20 that if Defendants were to delve into details of Plaintiffs’ search parameters, it would
  21 open the door for Plaintiffs to do the same as to Defendants’. Plaintiffs ultimately did
  22 not share the details of their search on these or any other requests, and there was no
  23 further discussion of search parameters.
  24         After Plaintiffs sandbagged Defendants with all of their complaints about the
  25 adequacy of Defendants’ search for GaN-on-Si RF customer communications in this
  26 motion, Defendants reached out to encourage Plaintiffs to meet and confer to resolve
  27 the issue rather than burdening the Court with this improper motion. Ex. B, Plaintiffs’
  28 Meet and Confer Failures email chain between Johnston and Banzhoff, at May 31,

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   1 2018 2:45 PM email from Johnston to Banzhoff. Defendants pointed out that
   2 Plaintiffs never discussed the complained-of issues, such as the particular identified
   3 custodians and search terms, during the parties’ March 5 meet and confer or at any
   4 time since. Defendants requested that Plaintiffs withdraw the motion and engage in
   5 the required Local Rule 37 real-time meet and confer in a good faith attempt to resolve
   6 or at least narrow the issues in dispute. Id. In response, Plaintiffs did not deny that
   7 the complaints raised in their motion were never discussed between the parties.
   8 Nevertheless, Plaintiffs were unwilling to withdraw the motion and properly meet and
   9 confer to resolve the issue. Id. at May 31, 2018 8:20 PM email from Banzhoff to
  10 Johnston and June 1, 2018 9:07 PM email from Banzhoff to Johnston.
  11                      b.    Plaintiffs’ motion should be summarily denied based
                                on their flagrant disregard for the Local Rule 37-1
  12                            conference requirement.
  13         As recounted above, Plaintiffs have not even attempted to meet and confer with
  14 Defendants regarding the complaints about Defendants’ search for customer
  15 communications raised in this motion. As this Court is well aware, the Local Rule
  16 37-1 conference requirement is mandatory for discovery motions and requires that the
  17 parties “confer in a good faith effort to eliminate the necessity for hearing the motion
  18 or to eliminate as many of the disputes as possible” before serving a joint stipulation.
  19 L.R. 37-1. That indisputably did not happen here. Quite the opposite occurred, in
  20 fact, as Plaintiffs rebuffed Defendants’ offer to engage in such discussions, insisting
  21 instead of pursuing this premature motion. Ex. B, Plaintiffs’ Meet and Confer
  22 Failures email chain between Johnston and Banzhoff, at May 31, 2018 2:45 PM email
  23 from Johnston to Banzhoff. Thus, despite this Court’s requirement of “[s]trict
  24 compliance with Local Rule 37,” Plaintiffs knowingly flouted the conference
  25 requirement, instead ambushing Defendants with a completely unexpected motion
  26 three months after stating that they would not move on these requests.
  27         Plaintiffs’ attempt to rely on the March 5 conference is unavailing. Plaintiffs
  28 do not and cannot assert that the complaints they now raise about Defendants’

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   1 production were discussed during that conference. They were not. That conference
   2 took place several weeks before the deadline for substantial completion of production
   3 and focused solely on whether Defendants would produce documents. There was no
   4 discussion about whether Defendants completed document production adequately
   5 addressed the request (nor could there have been at that stage), or about what the
   6 parameters of Defendants’ search should be (such as custodians and search terms).
   7 Critically, the upshot of that conference was that Plaintiffs stated they would not be
   8 filing a motion. Plaintiffs do not dispute that there were no further discussions before
   9 they reversed course without any warning by serving this joint stipulation. There was
  10 certainly no good faith attempt to resolve or narrow their new complaints about the
  11 adequacy of Defendants’ document production on these requests.
  12        The Court should reject Plaintiffs’ efforts to sandbag Defendants with
  13 complaints that they never even attempted to raise before filing their motion.
  14 Plaintiffs’ complaints regarding Request for Production Nos. 16, 19, 20, 21 and 83
  15 are not properly before the Court and their motion should be denied on this basis
  16 alone. Rutherford, 2014 WL 12633523 at *5 (C.D. Cal. Apr. 25, 2014) (“The record
  17 clearly reflects the parties made no genuine meet and confer efforts with respect to
  18 these requests. Indeed, these requests were not even mentioned in the parties’
  19 correspondence after plaintiffs served their amended responses, unless one counts
  20 defendants’ reference to an earlier letter . . . Accordingly, as to these requests,
  21 defendants’ Motion to Compel is denied without prejudice to defendants renewing
  22 their motion after counsel have made a genuine effort to meet and confer.”);
  23 Semiconductor Energy Lab, 2012 WL 12896204 at *1 (C.D. Cal. Oct. 17, 2012)
  24 (Accordingly, Plaintiff’s motion to compel is DENIED as to Requests Nos. 1-13, 15-
  25 26, 28-31, 36-37, 39-40, 42-45, 47-51, 54-55, 58, 63, and 66 because Plaintiff has
  26 failed to comply with the meet-and-confer requirements of Local Rule 37-1.”);
  27 Sherman, 2015 WL 13543541 at *6–7 (C.D. Cal. July 17, 2015) (“[N]or do the meet
  28 and confer documents submitted with regard to the October 23, 2014, Requests and

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   1 the January 20, 2015, Amended Requests at issue herein include these issues.
   2 Accordingly, the Court agrees with defendant that this issue is beyond the scope of
   3 this Motion.”).
   4        As Defendants told Plaintiffs after being served with this joint stipulation,
   5 Defendants stand ready to meet and confer with Plaintiffs in a good faith attempt to
   6 resolve or narrow this dispute now that they are aware of Plaintiffs’ complaints.
   7 Defendants request that the Court deny Plaintiffs’ motion and order them to properly
   8 meet and confer regarding this issue. Defendants further request that the Court
   9 impose sanctions for Plaintiffs’ flouting of the conference requirement of the Local
  10 Rules. See L.R. 37-4 (authorizing sanctions for counsel who fail to comply with the
  11 Rule 37 procedures). By failing to even attempt to meet and confer on these
  12 complaints and rejecting Defendants request to withdraw the motion and do so,
  13 Plaintiffs display a flagrant disregard for the Local Rule 37 procedure. This attitude
  14 wastes the Court’s time and results in the unnecessary expenditure of attorney fees on
  15 prematurely briefing these issues. Sanctions are appropriate in these circumstances.
  16                     c.     Plaintiffs’ unreasonable expectations regarding the
                                volume of documents they would receive do not excuse
  17                            their failure to meet and confer on their new complaints.
  18        In e-mail correspondence after Plaintiffs’ service of the joint stipulation,
  19 Plaintiffs appeared to rely on the fact that the number of customer communications
  20 produced was smaller than they expected to justify their failure to meet and confer on
  21 their specific complaints about Defendants’ production. Ex. B, Plaintiffs’ Meet and
  22 Confer Failures email chain between Johnston and Banzhoff, at May 31, 2018 8:20
  23 PM email from Banzhoff to Johnston and June 1, 2018 9:07 PM email from Banzhoff
  24 to Johnston. Plaintiffs cannot bypass the conference requirements of the Local Rules
  25 merely because they hoped there would be a larger number of responsive documents,
  26
  27
  28

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   1 however. 10 Moreover, the narrow statistics provided in Plaintiffs’ motion provide an
   2 incomplete and misleading view of the Defendants’ production.
   3          Defendants have expended substantial energy and resources collecting and
   4 producing documents in response to Plaintiffs’ requests. All told, Defendants have
   5 produced over 50,000 documents totaling about 500,000 pages collected from at least
   6 28 individual custodians. Johnston Decl. at ¶ 14. By comparison, Plaintiffs have
   7 produced around 24,000 documents collected from 13 identified individual
   8 custodians—less than half the number of documents and custodians in Defendants’
   9 production. Id. at ¶ 15.
  10          Plaintiffs claim that Defendants have not sufficiently produced documents
  11 relating to communications with customers about GaN-on-Si technology because they
  12 located only 306 documents that are e-mails to or from five specific customers
  13 (Ericsson, Nokia, Huawei, ZTE, and Samsung). But that metric is unduly limited and
  14 distorts Defendants’ production. For example, Ex. D, INFMAC_0091971, is a
  15 document setting forth meeting minutes of a discussion with Huawei—undoubtedly
  16 a customer communication. Yet it would not fall within Plaintiffs’ restrictive search
  17 because it is not an e-mail to or from Huawei. In truth, Defendants’ production is rife
  18 with documents relating to customer interactions. Defendants have produced over
  19 8,100 documents discussing Ericsson, over 4,100 documents discussing Nokia, over
  20
         10
  21        Likewise, Plaintiffs’ suggestion that Defendants reneged on a promise made
         during the March 5 discussion is unfounded and does not excuse Plaintiffs’ failure
  22     to confer on the issues raised in this motion. Ex. B, Plaintiffs’ Meet and Confer
  23     Failures email chain between Johnston and Banzhoff, at May 31, 2018 8:20 PM
         email from Banzhoff to Johnston. Defendants agreed to search for and produce
  24     customer communications relating to GaN-on-Si RF technology and they have
  25     done so. Defendants did not agree to use any particular search parameters, such
         as particular custodians or search terms. Nor did Plaintiffs request that Defendants
  26     do so during the March 5 discussion. Now, as then, however, Defendants are open
  27     to conferring with Plaintiffs about particular search parameters that might resolve
         this dispute if Plaintiffs wish to meaningfully engage in such discussions rather
  28     than harassing Defendants with premature motions.
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   1 4,600 documents discussing Huawei, over 3,300 documents discussing ZTE, and over
   2 3,100 documents discussing Samsung. Johnston Decl. at ¶ 16.
   3        Even if Plaintiffs’ assessment of the volume of customer communications
   4 related to GaN-on-Si produced were accurate, it would not be terribly surprising or
   5 evidence of a deficient production. Defendants do not currently have and have never
   6 had any GaN-on-Si RF products they can offer to customers. Ex. E, Wolf Decl., at
   7 ¶¶ 2, 41, 43.      Thus, it would make sense for the vast majority of customer
   8 communications to be about products that Defendants have actually offered and sold
   9 based on entirely different technologies—GaN-on-SiC and LDMOS. The volume of
  10 documents produced by these customers themselves in response to Plaintiffs’
  11 subpoenas seeking all communications with Defendants about GaN-on-Si RF
  12 products and technology are extremely telling. Ex. F, Nokia Subpoena at 7–8; Ex. G,
  13 Huawei Subpoena, at 6–7. Nokia produced a total of eleven documents. Johnston
  14 Decl. at ¶ 7. Huawei produced three. Id. at ¶ 8. Nokia and Huawei’s own productions
  15 thus suggest that it is more likely Plaintiffs’ expectations that are unreasonable, not
  16 Defendants’ document search. Plaintiffs’ motion should be denied.
  17               4.     The law does not support Plaintiffs’ overbroad and vague
                          requests for “all documents” that “relate to” Defendants’
  18                      affirmative defenses (RFPs 88 and 104–118).
  19        Through this set of fifteen RFPs, Plaintiffs seek “all documents” that “relate[]
  20 to” each of Defendants’ affirmative defenses.         See, e.g., Ex. 14, Defendants’
  21 Responses to MACOM’s RFPs 99 through 124, at 12–21 (RFPs 104 through 118).
  22 Plaintiffs’ requests cannot be any broader. Because of this breadth, Defendants
  23 cannot even figure out how to search for responsive documents. Defendants instead
  24 offered a reasonable compromise of producing all documents that they intend to use
  25 at trial—a position supported even by the case law Plaintiffs cite in their portion of
  26 this Joint Stipulation. But Plaintiffs refused, digging in on their overbroad and
  27 ambiguous requests. Plaintiffs’ motion should be denied.
  28

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   1                     a)     Background
   2        On October 25, 2017, Defendants responded to Plaintiffs’ RFPs 78 through 98.
   3 This set of RFPs included RFP 88, which asked for “[a]ll documents related to
   4 Infineon’s affirmative defenses, as set forth in Infineon Americas’ Second Amended
   5 Answer and Counterclaim (Dkt. 323-1) and Infineon AG’s Answer and Affirmative
   6 Defenses (Dkt. 291).” Ex. 21, Defendants’ Responses to MACOM’s RFPs 78 through
   7 98, at 20 (RFP 88). Because of RFP 88’s incredible breadth, which did not even
   8 specify what type of documents were sought or differentiate documents that may be
   9 used from those that would not, Defendants refused to produce documents in
  10 response. Id. On January 25, 2018, the parties unsuccessfully met and conferred
  11 regarding RFP 88.
  12        Following the parties’ unsuccessful RFP 88 meet and confer, on February 28,
  13 2018, Plaintiffs served their RFPs 99 through 124 on Defendants. See Ex. H,
  14 Defendants’ Responses to MACOM’s RFPs 99 through 124. Sixteen of these requests
  15 (RFPs 103 through 118) essentially recast Plaintiffs’ RFP 88, dividing that request in
  16 sixteen smaller but equally broad requests. See id. at 11–21 (RFPs 103 through 118).
  17 In doing so, Plaintiffs’ copy-and-paste requests still demand “all documents related
  18 to” each of Defendants’ affirmative defenses—without differentiating among type of
  19 document sought or the use of the documents at trial or in this case. On March 21,
  20 2018, Defendants responded to this set of RFPs, stating these objections and refusing
  21 to produce documents in response to RFPs 103 through 118. Id.
  22       On April 5, 2018, the parties met and conferred regarding these RFPs. Ex. I,
  23 April 9, 2018 Meet and Confer email chain between Caballero and Banzhoff, at April
  24 30, 2018 6:04 PM from Banzhoff to Caballero. Defendants promised Plaintiffs that,
  25 regarding RFP 103 (requesting all documents regarding Plaintiffs’ request for and
  26 entitlement to injunctive relief), Defendants would produce all documents that they
  27 intended to use at trial, but that because of the RFP’s unbounded language, Defendants
  28 could not search for responsive documents. Id. Plaintiffs thanked Defendants for this

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   1 assurance, and notably, RFP 103 is not a subject of Plaintiffs’ motion.             This
   2 conversation mirrored the parties’ discussions on RFPs 88 and 104 through 118,
   3 where Defendants stated their willingness to produce all documents that they intend
   4 to rely upon at trial for each identified affirmative defense but added that they cannot
   5 respond to the RFPs as written.
   6         Defendants stand by their offer to produce the documents that they intend to
   7 rely upon at trial relating to each affirmative defense in the RFPs. Beyond this,
   8 however, Defendants do not even know where to begin in responding to the RFPs as
   9 written.
  10                      b)     Plaintiffs’ RFPs 88 and 104 through 118 are too broad
                                 and vague to support a meaningful search and
  11                             production by Defendants.
  12         In their portion of this Joint Stipulation, Plaintiffs disobey Local Rule 37-2.1,
  13 which states that a joint stipulation shall contain, verbatim, the text of the discovery
  14 request and response at issue, without referring the Court to any other documents.
  15 L.R. 37-2.1. Plaintiffs justify their noncompliance for “space reasons.” But Plaintiffs
  16 instead leverage this noncompliance to cherry-pick the single most seemingly specific
  17 of their RFPs (RFP 109) as the exemplar for their remaining affirmative defense
  18 RFPs. This tactic disguises the true character these affirmative defense RFPs, which
  19 are far broader and vaguer than RFP 109 alone might suggest. Each of these fifteen
  20 requests starts with the phrase “All documents related to [Defendants’] affirmative
  21 defense of” and concludes with the quoted name of an affirmative defense, without
  22 providing any more guidance. See, e.g., Defendants’ Responses to MACOM’s RFPs
  23 99 through 124, at 12 (RFP 104) (“All documents related to Infineon’s affirmative
  24 defense of ‘Failure to State a Claim.’”). Conveniently, Plaintiffs include in their Joint
  25 Stipulation the single most seemingly specific request, but even then, the verbosity in
  26 the request merely reflects the lengthier title of the quoted defense, not any greater
  27 specificity in Plaintiffs’ request.
  28        The breadth of these requests defies any reasonable or possible search that
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   1 Defendants could conduct. Plaintiffs offer no explanation as to how Defendants
   2 would or could cull responsive documents to the requests as written. Nor do Plaintiffs
   3 specify what type of documents these RFPs seek—do Plaintiffs seek documents from
   4 Defendants’ files, certain Rules of Civil Procedure, statutes, case law, or all of the
   5 above? Plaintiffs leave Defendants guessing. Not surprisingly, this Court has rejected
   6 such requests. Unilin Beheer B.V. v. NSL Trading Corp., CV 14-2210 BRO (SSX),
   7 2015 WL 12698382, at *6 (C.D. Cal. Feb. 27, 2015) (“[B]ased on the Court’s request-
   8 by-request review, Plaintiffs’ requests generally calling for documents supporting
   9 Defendants’ claims and affirmative defenses, (RFP Nos. 17–33) . . . are DENIED
  10 without prejudice as duplicative of other requests, on vagueness grounds and on the
  11 grounds that Plaintiffs have not identified documents improperly withheld.”). 11
  12          Plaintiffs seek “all documents” that “relate to” an affirmative defense, but none
  13 of the cases Plaintiffs cite supports such production. Instead, these courts ordered
  14 production only of documents supporting an affirmative defense, which Defendants
  15 agreed to produce by offering any documents that they intend to rely upon at trial with
  16 respect to each defense. Plaintiffs conflate the production of documents “related” or
  17 “relevant” to a defense, which are not the subject of these cases, with documents
  18 supporting a defense, as demonstrated below:
  19
  20
         11
  21       The Court in Unilin Beheer did not recite the exact language of these requests,
         so Defendants here have attached examples of these requests to this Joint
  22     Stipulation. Ex. J, Unilin Beheer B.V. v. NSL Trading Corp., CV 14-2210 BRO
  23     (SSX) (C.D. Cal.), Dkt. 69-2, at 11–15 (RFPs 17 through 33). As an example, one
         request rejected by the Court reads: “All documents and things, including
  24     communications, relating to your contention in your answer and affirmative
  25     defenses that ‘Plaintiffs’ claims are barred, in whole or in part, by the doctrine of
         laches.’” Id. at 14 (RFP 21) (emphasis omitted). If anything, these RFPs, deemed
  26     inadequate by this Court, demonstrate more specificity and narrowness than
  27     Plaintiffs’ RFPs because they sought discovery relating to the defendant’s
         contentions surrounding its affirmative defenses. Id.; Unilin Beheer B.V., 2015
  28     WL 12698382 at *6.
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   1    • Garza v. Brinderson Constructors, Inc., 15-CV-05742-EJD(SVK), 2017 WL
   2         2861128, at *2 (N.D. Cal. July 5, 2017)
   3            o Plaintiffs’ Citation—“[O]rdering the production of all non-privileged
   4               documents ‘that relate to defendants’ allegations and defenses’ in the
   5               action at issue” (Plaintiffs’ alterations omitted) (emphasis added).
   6
                o Actual Holding—“[T]he Court orders [defendants] to produce all non-
   7
                   privileged documents in its possession, custody, or control that support
   8
                   its affirmative defenses in this action.” Id. at *2 (emphasis added).
   9
  10    • Local.com Corp. v. Fry’s Elecs., Inc., SACV 12-0976-JGB(JPRx), 2013 WL

  11         12139096, at *3 (C.D. Cal. Feb. 22, 2013)

  12            o Plaintiffs’ Citation—“[G]ranting motion to compel production of
  13               documents relevant to its defenses and counterclaims . . .” (emphasis
  14               added).
  15            o Actual Holding—Ordering a further response to RFPs “seek[ing]
  16               documents supporting [d]efendant’s contentions as to its defenses and
  17               counterclaims.” Id. (emphasis added). 12
  18
        • Koninklijke Philips Elecs. N.V. v. KXD Tech., Inc., 2:05-CV-01532-RLH-
  19
             GWF, 2007 WL 778153, at *5 (D. Nev. Mar. 12, 2007)
  20
  21            o Plaintiffs’ Citation—“[G]ranting motion to compel production of

  22               documents that defendants may use in support of their denials and

  23               affirmative defenses.”

  24            o Actual Holding—Plaintiffs accurately summarize the result here. But
  25
  26    12
          As Plaintiffs note, this Court in Local.com cited Nat’l Acad. of Recording Arts
  27    & Scis., Inc. v. On Point Events, LP, in which this Court similarly compelled a
        defendant “to produce documents that support its affirmative defenses.” 256
  28    F.R.D. 678, 682 (C.D. Cal. 2009) (emphasis added).
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   1                 they omit the court’s observation that the requests for “all documents in
   2                 support of” each denial or defense “appear[ed] overbroad on their face.”
   3                 Id.
   4 No case cited by Plaintiffs supports production of “all documents” that “relate to” a
   5 defense. Such a request is overbroad on its face and leaves Defendants with no
   6 plausible means for responding. Instead, Defendants remain willing (as they were at
   7 the parties’ meet and confer) to produce documents that they intend to use at trial with
   8 respect to each affirmative defense. Plaintiffs deserve nothing more.
   9
                  5.     Documents relating to Defendants’ sales, pricing, and
  10                     projections for GaN-on-SiC and LDMOS are not relevant to a
                         legally valid damages theory (RFPs 125, 126, 127, 137, 138,
  11                     141, 142, 144, and 145).
  12          Through these RFPs, Plaintiffs seek various financial documents related to
  13 Defendants’ sales of GaN-on-SiC and LDMOS products. See Ex. 20, Defendants’
  14 Responses to MACOM’s RFPs 125 through 145, at 8–25 (RFPs 125, 126, 127, 137,
  15 138, 141, 142, 144, and 145).
  16          Plaintiffs are not arguing these RFPs are relevant to any liability claim in this
  17 lawsuit. It is undisputed that Defendants can legally sell GaN-on-SiC and LDMOS
  18 products and that Plaintiffs cannot argue any liability based on Defendants’ sales of
  19 GaN-on-SiC and LDMOS products. For that reason, Plaintiffs’ liability claims are
  20 based on Defendants’ alleged activities with respect to an entirely different category
  21 of products, called GaN-on-Si. And Defendants have already agreed to produce
  22 document relating that category of products (GaN-on-Si).
  23          Because GaN-on-SiC and LDMOS are technologies that are not relevant to any
  24 liability claims, Plaintiffs are trying to justify their overbroad requests solely based
  25 on their damages claim. Given Plaintiffs’ failure to provide a proper response to
  26 Defendants’ interrogatory on damages (Interrogatory No. 10), 13 it is difficult to
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         13
  28          Defendants detail the deficient history of Plaintiffs’ response and supplemental

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   1 determine exactly what is Plaintiffs’ damages claim. But, from Plaintiffs’ deficient
   2 interrogatory answer, it appears that Plaintiffs are relying on two broad theories:
   3 (1) unjust enrichment and (2) lost profits. Ex. 19, Plaintiffs’ Third Supplemental
   4 Responses to Defendants’ First Set of Interrogatories (dated May 2, 2018), at 35. Yet
   5 neither of those theories justifies discovery regarding Defendants’ GaN-SiC and
   6 LDMOS sales. First, with respect to unjust enrichment, although Defendants’ sales
   7 may be relevant to a recovery of unjust enrichment, Plaintiffs are not legally entitled
   8 to unjust enrichment damages because Plaintiffs’ liability claims are based on
   9 contracts. So, unjust enrichment cannot provide a basis for discovery regarding
  10 Defendants’ GaN-SiC and LDMOS sales. Second, with respect to lost profits, even
  11 if Plaintiffs could show that they are legally entitled to lost profits damages, the
  12 measure of those damages are Plaintiffs’ lost profits—not Defendants’ profits.
  13 Defendants’ sales are not relevant to the amount of Plaintiffs’ lost profits. For these
  14 reasons, Plaintiffs’ motion should be denied on these broad and irrelevant RFPs.
  15                     a)     Plaintiffs cannot recover unjust enrichment.
  16        Plaintiffs legally cannot recover unjust enrichment, an equitable remedy, in the
  17 face of the parties’ express contracts. Plaintiffs’ damages claims are based on
  18 “Infineon’s activities in violation of its agreements with MACOM and/or in bad faith
  19 execution of its obligations.” Ex. 19, Plaintiffs’ Third Supplemental Responses to
  20
  21     response to Defendants’ Interrogatory No. 10 in the Joint Stipulation regarding
  22     Defendants’ First Motion to Compel. Dkt. 513-1 at 17–20. In short, Defendants
         served Interrogatory No. 10 in August 2017, continually challenged the adequacy
  23     of Plaintiffs’ response for the next several months, and eventually secured an
  24     agreement whereby Plaintiffs would properly supplement their response by mid-
         April. Id. at 17–18. On the due date for their supplemental response, Plaintiffs
  25     said that they needed several more weeks, with no advanced warning or
  26     explanation. Id. at 18–19. In May, Plaintiffs served the supplemental response to
         Interrogatory No. 10, which Plaintiffs now use as the basis for this aspect of their
  27     motion to compel and which Defendants have explained is inadequate in their first
  28     motion to compel. Id. at 20–27.

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   1 Defendants’ First Set of Interrogatories (dated May 2, 2018), at 35. California law
   2 does not permit unjust enrichment where, consistent with Plaintiffs’ own allegations,
   3 an express contract governs the relationship between the parties. See, e.g., Durell v.
   4 Sharp Healthcare, 108 Cal. Rptr. 3d 682, 699 (Cal. Ct. App. 2010) (affirming trial
   5 court’s dismissal of plaintiff’s claim for unjust enrichment, which was “inapplicable
   6 because [plaintiff] alleges the parties entered into express contracts.”). 14 Plaintiffs’
   7 legal inability to recover unjust enrichment renders these overly broad requests
   8 irrelevant and not proportional to the needs of this case.
   9                      b)    Although lost profits may be a legally proper theory of
                                recovery, the damages are Plaintiffs’ lost sales—not
  10                            Defendants’ sales.
  11          Plaintiffs’ lost profits damages theory also does not warrant a fishing
  12 expedition into Defendants’ finances because this damages theory is based on
  13 Plaintiffs’ sales and profits, not those of Defendants. Through these RFPs, Plaintiffs
  14 seek Defendants’ price, revenue, and sales data for various products and Defendants’
  15 strategies and projections for GaN-on-SiC and LDMOS products. As Plaintiffs’
  16 supplemental response to Interrogatory No. 10 states, however, Plaintiffs’ lost profits
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  18
  19     14
            This rule is well established under California law. See, e.g., Cal. Med. Ass’n,
  20     Inc. v. Aetna U.S. Healthcare of Cal., Inc., 94 Cal. App. 4th 151, 172 (Cal. Ct.
         App. 2001) (“When parties have an actual contract covering a subject, a court
  21     cannot—not even under the guise of equity jurisprudence—substitute the court’s
  22     own concepts of fairness regarding that subject in place of the parties’ own
         contract” (quotations omitted)); Paracor Fin., Inc. v. Gen. Elec. Capital Corp., 96
  23     F.3d 1151, 1167 (9th Cir. 1996) (“Under both California and New York law, unjust
  24     enrichment is an action in quasi-contract, which does not lie when an enforceable,
         binding agreement exists defining the rights of the parties”); Peterson v. AWJ
  25     Glob. Sustainable Fund, LP, 15-CV-00650-CRB, 2015 WL 5921225, at *5 (N.D.
  26     Cal. Oct. 11, 2015) (“The Court finds that [plaintiff’s] unjust enrichment claim
         fails under the law of either state. Neither Delaware nor California law provide an
  27     unjust enrichment remedy if the unjust enrichment claim arises from an actual
  28     contract”).

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   1 theory focuses on profits Plaintiffs’ lost sales on their GaN-on-Si products. 15 The
   2 disputed discovery requests, however, relate to Defendants’ prices, strategies, and
   3 projects on entirely different products (GaN-SiC and LDMOS).
   4          Moreover, it is impossible to infer Plaintiffs’ lost profits from Defendants’ sales
   5 because this is not a two-competitor market. Plaintiffs and Defendants compete with
   6 many different suppliers to sell RF power products to Tier 1 basestation customers.
   7 Preetinder Virk is Plaintiffs’ senior VP running the business unit including GaN-on-
   8 Si RF products. Ex. K, Virk Deposition, at 7:2–10, 22:16–23.
   9
  10                                                                           Plaintiffs cannot
  11 reasonably argue that all of Defendants’ GaN-on-SiC or LDMOS products would
  12 have otherwise gone to Plaintiffs as opposed to any of the other competitors in the
  13 marketplace. That is especially so here because,
  14                                                                            . Id. at 44:25–
  15 45:5. Moreover, Plaintiffs’ own documents on market share in 2017 show
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  27       Recognizing the relevance of GaN-on-Si data, Defendants agreed to produce
         documents relating to GaN-on-Si in response to numerous RFPs. See, e.g.,
  28     Defendants’ responses to RFPs 125, 126, 127, 137.
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  20         Plaintiffs’ lost profits theory therefore does not justify the wide-ranging and
  21 burdensome discovery regarding Defendants’ sales of products (GaN-SiC and
  22 LDMOS) unrelated to the technology at issue. Because these RFPs are irrelevant to
  23 a legally cognizable damages theory, Plaintiffs’ motion to compel should be denied
  24 as to these requests.
  25                      c)    Plaintiffs’ requests are overbroad and not proportional
                                to the needs of this case.
  26
             Aside from their irrelevance, Plaintiffs’ RFPs, which seek unbounded
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       collections of industry-wide reports and data, are overly broad and not proportional
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   1 to the needs of this case. For example, Plaintiffs’ RFP 127 seeks “[a]ll industry
   2 reports related to the basestation industry, including any reports discussing GaN-on-
   3 Si, GaN-on-SiC, and/or LDMOS.” Defendants agreed to produce reports relating to
   4 GaN-on-Si—the products and technology at issue. Because Plaintiffs’ requests bear
   5 little on this action yet impose a heavy burden on Defendants, Plaintiffs’ motion
   6 should be denied.
   7                      d)       Plaintiffs identify no problems with Defendants’
                                   response to RFP 137, which the parties did not discuss
   8                               at their meet and confer.
   9         The parties met and conferred regarding these RFPs on April 11, 2018. Ex. I,
  10 April 9, 2018 Meet and Confer email chain between Caballero and Banzhoff, at April
  11 30, 2018 6:04 PM email from Banzhoff to Caballero. As the parties’ email summaries
  12 of this conference show, they never discussed RFP 137. See id. Once again, RFP 137
  13 exemplifies Plaintiffs’ repeated and blatant failure to abide by Local Rule 37-1’s meet
  14 and confer requirements, which alone warrants denying their motion on this request.
  15 See, e.g., Rutherford, 2014 WL 12633523 at *5 (C.D. Cal. Apr. 25, 2014) (“The
  16 record clearly reflects the parties made no genuine meet and confer efforts with
  17 respect to these requests. . . . Accordingly, as to these requests, defendants’ Motion to
  18 Compel is denied . . . .”).
  19         Nevertheless, there is no dispute here. RFP 137 requests documents regarding
  20 pricing for GaN-on-Si products, and Defendants agreed to produce responsive
  21 documents. Plaintiffs argue that Defendants refused to produce documents relating
  22 to GaN-on-SiC and LDMOS products, but RFP 137 does not request documents
  23 regarding these products. Plaintiffs do not identify any dispute over Defendants’ fully
  24 responsive answer and production. Plaintiffs need no further relief with respect to
  25 RFP 137.
  26 V.      CONCLUSION
  27         A.  MACOM’s Conclusion
             MACOM respectfully requests that the Court compel Infineon to provide the
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   1 following:
   2               1.     Documents responsive to MACOM’s Request Nos. 88 and 104-118;
   3               2.     Communications with basestation customers, including those
   4                      responsive to MACOM’s Request Nos. 16, 19, 20, 21, and 83;
   5               3.     A description of the sources, custodians, and search terms used to
   6                      search for customer communications pursuant to any order of this
   7                      Court;
   8               4.     A full and meaningful substantive response to Interrogatory No. 12
   9                      or 13 (or, in the alternative, an order that Infineon is limited to
  10                      arguing only failure of proof on noninfringement issues at trial);
  11               5.     Documents responsive to MACOM’s Request Nos. 44 and 136; and
  12               6.     Documents responsive to MACOM’s Request Nos 125-127, 137-38,
  13                      141-42, and 144-45.
  14          B.        Defendants’ Conclusion 16
  15          Plaintiffs offer no explanation for their repeated noncompliance with the Local
  16 Rules through their failures to meet and confer. Their arguments for seeking to
  17 compel do not adequately explain the information sought and why that information is
  18 relevant and proportional to the needs of this case. Moreover, Plaintiffs repeatedly
  19 rejected Defendants’ offers of compromise, which offer all the discovery Plaintiffs
  20 are entitled to on these issues. For the reasons stated above, Plaintiffs’ motion to
  21 compel should be denied in its entirety.
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  27       Local Rule 37-2.1, though it expressly permits an introductory statement by each
         party, does not permit a conclusion. Nevertheless, Defendants have included their
  28     conclusion to conform to the format Plaintiffs selected in this Joint Stipulation.
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